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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

 In re:                                                        Chapter 11
 BLOCKFI INC., et al.,
                                                               Case No. 22-19361 (MBK)
                                      Debtors. 1
                                                               (Jointly Administered)

                 DEBTORS’ REPLY TO GEORGE J. GERRO’S RESPONSE TO
              DEBTORS’ FOURTH OMNIBUS OBJECTION TO CERTAIN CLAIMS
                       (duplicates, books and records, debtor not liable)

 TO:        THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN UNITED
            STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY

            BlockFi Inc. and its debtor affiliates (collectively, “BlockFi” or the “Debtors”), as debtors

 and debtors-in-possession in the above-referenced Chapter 11 cases (the “Chapter 11 Cases”),



 1
   The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC
 (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422);
 BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service address is 100
 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.
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 hereby file this Debtors’ Reply to George J. Gerro’s Response to Debtors’ Fourth Omnibus

 Objection to Certain Claims (the “Reply”) in response to George Gerro’s (“Gerro”) Response Of

 George J. Gerro To Debtors’ Fourth Omnibus Objection To Certain Claims; And Cross-Motion

 Of George J. Gerro For An Order Temporarily Allowing Claim No. 12386 Pursuant To F.R.B.P.

 Rule 3018(A) For The Sole Purpose Of Voting On A Chapter 11 Plan (the “Gerro Response” and

 “Cross-Motion”) in connection with the Debtors’ Fourth Omnibus Objection To Certain Claims

 (the “Gerro Claim Objection”). In support of the Reply, the Debtors respectfully represent as

 follows:

                                            Preliminary Statement

         1.       Despite the tortured history surrounding the Gerro Claims, 2 the path to

 disallowance is straightforward. BlockFi and Gerro had a prepetition lending relationship through

 which BlockFi issued a Loan to Gerro. The Loan was secured by Collateral in the form of BTC.

 The Loan Agreement contained a specific LTV Ratio requirement, which Gerro failed to maintain.

 BlockFi, with notice to Gerro and fully within its rights under the Loan Agreement, liquidated the

 Collateral to pay down Gerro’s Loan and satisfy the LTV Ratio requirement. Gerro understood,

 and even acquiesced, to the liquidation at the time. Gerro, however, had second thoughts following

 an upward swing in cryptocurrency value 46 days after the Collateral liquidation and turned to

 gamesmanship. Gerro filed lawsuit after lawsuit against BlockFi, asserting baseless causes of

 action. Now, in these Chapter 11 Cases, Gerro has filed the Gerro Claims, seeking to recover 426

 BTC from the Debtors’ estates. But Gerro is not a creditor and is not entitled to a distribution. As

 such, this Court should disallow the Gerro Claims in their entirety.


 2
   Capitalized terms used but not otherwise defined in the Preliminary Statement shall have the meanings provided in
 the remainder of this Reply.
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                                       Factual Background

 I.     The Loan Agreements Between Gerro and BlockFi

        2.      George J. Gerro (“Gerro”) is a former borrower of BlockFi who entered into a series

 of loan agreements (each a “Loan” and collectively, the “Loans”) with BlockFi Lending LLC that

 required him to pledge bitcoin (“BTC”) as collateral and granted BlockFi a security interest in,

 among other things, the BTC and proceeds thereof (the “Collateral”). Two Loans were originated

 in September 2019, for the amounts of $1,479,000.00 USD and $647,700.00 USD, respectively

 (the “September 2019 Loans”). The operative Loan at the time of the liquidation was that certain

 Loan and Security Agreement executed by the Parties on February 11, 2020 (the “Loan

 Agreement”), which consolidated the September 2019 Loans. A true and correct copy of the Loan

 Agreement is attached hereto as Exhibit A.

        3.      In exchange for a one-time loan of $2,275,000.00 USD, the Loan Agreement

 provides, inter alia, that Gerro “pledges, assigns, transfers and delivers to Lender, and grants to

 Lender a continuing and unconditional first priority security interest in all of Borrower’s present

 and future rights, title and interest in 441.85 BTC.” Ex. A at ¶ 5. The Loan Agreement also

 authorizes BlockFi to liquidate Collateral with 3 days’ notice if the loan-to-value ratio (the “LTV

 Ratio”) rises above 70%, and immediately if it rises above 80%. Id. at ¶ 7.

 II.    The Liquidation of Gerro’s Collateral

        4.      In March of 2020 the price of BTC dropped, and BlockFi notified Gerro that the

 terms of the Loan Agreement required him to post additional BTC Collateral to avoid liquidation.

 Gerro did not respond to BlockFi’s margin call, and on March 12, 2020, BlockFi liquidated




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 approximately 399 BTC 3 to bring the loan into compliance with the required LTV Ratio. BlockFi

 communicated details of the liquidation to Gerro. A true and correct copy of the email

 communications from BlockFi to Gerro regarding the margin call and liquidation are attached

 hereto as Exhibit B.

         5.       In stark contrast to his current position that BlockFi was not authorized to possess

 or liquidate his BTC, on March 13, 2020, Gerro thanked BlockFi for the update and stated: “I

 appreciate that I have an opportunity to remain a client of BlockFi.” Ex. B at p.1. On March 15,

 2020, Gerro emailed BlockFi that he “ha[d] an idea,” and asked for a phone call “[s]ince solutions

 are time sensitive.” Id. at p. 3. When BlockFi asked him to instead respond by email, he replied:

         My idea is to redeem the loan, since the average sale price for the collateral was
         approximately the same market price as BTC now. Blockfi would extend total
         credit of $2.275M to buy the approx. 400 BTC of sold collateral back off the open
         market. Then, I can possibly add more collateral to return the LTV ratio to 80%.
         Let me know if this works, or if you have any different ideas.

 Id. at p. 3–4.

         6.       BlockFi responded that the transaction could not be reversed unless additional

 collateral was pledged to ensure the LTV Ratio would be below 60% after a reversal. Id. at p. 4.

 BlockFi repeatedly emphasized the LTV Ratio requirement under the Loan Agreement and

 explained that “given all the volatility in the market” Gerro’s request to pledge less collateral than

 required to bring the LTV Ratio below 60% would only result in collateral being “liquidated

 again.” Id. at p. 5.




 3
  The Gerro Claims assert that Gerro is entitled to 426 BTC, which appears to include not only the approximately 399
 BTC BlockFi liquidated per the Agreement, but also the approximately 27 BTC that Gerro himself asked BlockFi to
 sell to pay of his Loan balance.
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         7.      Gerro requested a further liquidation to pay off his remaining Loan balance and

 asked that whatever Collateral remained after the payoff be transferred to his external wallet.

 Recognizing again that the price of BTC was constantly fluctuating, he asked for immediate

 confirmation after the trade. Id. at p. 6–7. On March 19, 2020, two days after BlockFi

 accommodated his own liquidation request, and the same day that Gerro removed his remaining

 BTC from BlockFi’s platform to an external wallet, BlockFi provided a breakdown of several

 different “options available to reinstate some of [the] loan/collateral.” Id at p.8. Gerro responded

 by indicating he was “in the due diligence phase with a traditional source of capital” and inquired

 about the formula BlockFi was using to determine the amount Gerro would need to pay in order

 to reinstate his loan. Id. at p. 9.

         8.      On March 24, 2020, BlockFi provided the formula: “Reinstated Principal Balance

 minus Loan Available at 60% (based on reinstated collateral + price of BTC).” BlockFi also

 included an example. The example stated that BTC was subject to fluctuation and that BlockFi

 was “assuming” 426 BTC collateral at 60% LTV Ratio. Id. On April 27, 2020, 34 days after this

 communication, and 46 days after his Collateral had been liquidated, Gerro emailed BlockFi that

 he was “accept[ing] BlockFi’s offer to reverse [his] collateral sales” and included his own

 calculations of the amount of BTC he was offering to pledge at the current BTC price. Id. BlockFi

 immediately responded that Gerro’s proposed transaction would cause steep losses for BlockFi as

 the price of BTC was significantly higher than when the Collateral was sold. Id. BlockFi ended

 the email chain by explaining that BlockFi could work with Gerro on a new loan, but given the

 time elapsed, reversing prior liquidation and trades was not an option. Id. at p. 11.




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 III.    Proceedings in California State Court and the Bankruptcy Court

         9.       Gerro subsequently filed a series of frivolous lawsuits in California state court

 (Gerro I, II, and III, collectively, the “State Court Litigation”) 4 alleging a variety of violations of

 California Financing Law (the “CFL”). The State Court Litigation was stayed at varying stages by

 the filing of these Chapter 11 Cases. 5

         10.      Early in these Chapter 11 Cases, Gerro filed a Motion for Entry of an Order

 (i) Granting Partial Relief from the Automatic Stay (11 U.S.C. §§ 362(d)(1)) and Discharge

 Injunction (11 U.S.C. § 524(a)) with Respect to Certain Non-Core Proceedings; And (ii) Extending

 Time to File A Proof Of Claim (F.R.B.P. 3003(c)(3)) (the “Stay Relief Motion”) [Docket No. 117]

 seeking to continue to litigate Gerro I in California state court. This Court denied the Stay Relief

 Motion on January 9, 2023. 6




 4
  Gerro v. BlockFi, Case No. 20BBCV00308 “Gerro I”, Gerro v. BlockFi, Case No. 20STCV31493 “Gerro II”, Gerro
 v. Shultz, Case No. 21STCP02023 “Gerro III.”
 5
  For a summary of the State Court Litigation, see Debtors’ Response and Objection to Motion and Memorandum of
 Law in Support of Motion of George J. Gerro for Entry of an Order (i) Granting Partial Relief From The Automatic
 Stay (11 U.S.C. §§ 362(d)(1)) and Discharge Injunction (11 U.S.C. § 524(a)) with Respect to Certain Non-Core
 Proceedings; And (ii) Extending Time To File A Proof Of Claim (F.R.B.P. 3003(c)(3)) (the “Response to Stay Relief
 Motion”) [Docket No. 173, ¶¶ 13–17].

 For the relevant pleadings filed in the State Court Litigation, see Declaration of Richard Kanowitz in Support of
 Debtors’ Response and Objection to Motion and Memorandum of Law in Support of Motion of George J. Gerro for
 Entry of an Order (i) Granting Partial Relief From The Automatic Stay (11 U.S.C. §§ 362(d)(1)) and Discharge
 Injunction (11 U.S.C. § 524(a)) with Respect to Certain Non-Core Proceedings; And (ii) Extending Time To File A
 Proof Of Claim (F.R.B.P. 3003(c)(3)) (the “Kanowitz Declaration”), [Docket No. 204, Exhibits A–K].
 6
  See Order Denying Motion of George J. Gerro for Entry of an Order (i) Granting Partial Relief from the Automatic
 Stay (11 U.S.C. §§ 362(d)(1)) and Discharge Injunction (11 U.S.C. § 524(a)) with Respect to Certain Non-Core
 Proceedings; And (ii) Extending Time to File A Proof Of Claim (F.R.B.P. 3003(c)(3)) (the “Order Denying Stay Relief
 Motion”) [Docket No. 238].

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         11.      Gerro filed Claim Nos. 12386 and 15248 (the “Gerro Claims”) 7 on March 24, 2023,

 and March 29, 2023, respectively, asserting duplicative claims for the return of 426 BTC pledged

 as Collateral pursuant to the Loan agreement.

         12.      On June 14, 2023, the Debtors filed the Gerro Claim Objection [Docket No. 1069]

 seeking disallowance of the Gerro Claims because they (i) are inconsistent with the Debtor’s books

 and records; (ii) the Debtors are not liable for the Gerro Claims; and (iii) the Gerro Claims are

 duplicative.

         13.      Gerro filed the Gerro Response on July 13, 2023—a sprawling 284 pages consisting

 of: (i) a memorandum of law in response to the Gerro Claim Objection; (ii) a Cross-Motion to

 estimate the Gerro Claims for voting purposes; (iii) a “Certification” by Gerro that repeatedly

 expresses his opinions and conclusions of law (despite D.N.J. LBR 7007–1, which states that

 certifications “must contain only statements of facts”); (iv) Gerro’s 200+ page proof of claim; and

 (v) a second memorandum of law which purports to “provide[] the statutory construction and

 legislative history” of the definition of “finance lender” and “pawnbroker” under the CFL.

 IV.     Gerro’s Arguments

         14.      First, Gerro argues extensively that California state law applies to the analysis of

 the Gerro Claims, notwithstanding that the Loan Agreement is governed by Delaware law. While

 not conceding unenforceability of the governing law clause in the Loan Agreement, Gerro does

 not have any colorable claims under the law of Delaware, California, or the Uniform Commercial

 Code (“UCC”) as adopted by either state. The result is the same regardless of choice of law, and


 7
  Gerro concedes that he filed Claim #15248 as a duplicative claim because he was awaiting proof of receipt from the
 claims agent for Claim #12386 and was concerned about the impending bar date. He asserts that only Claim #12386
 should be allowed. Gerro Response, p.8–9.

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 BlockFi accordingly takes no issue with the application of California law to the extent this Court

 finds such application necessary in dispensing with Gerro’s arguments.

         15.     Second, Gerro asserts that BlockFi Lending LLC willfully violated the CFL (CAL.

 FIN. CODE § 22750(a-b)) by using and possessing the BTC Collateral, in violation of its California

 Finance Lender License (see CAL. FIN. CODE, § 22009) converting the proceeds of the BTC

 Collateral to BlockFi's own use (CAL. COM. CODE § 9207(c)) and breaching its contract with Gerro

 to redeem the loan. Gerro Response, p. 3, 56. Gerro devotes dozens of pages in his Response to

 documenting correspondence between BlockFi and various employees of the Department of

 Business Oversight (the “Department”) that occurred prior to the Department’s issuance of a

 Finance Lender and Broker license to BlockFi (the “License”). Ignoring the ultimate response from

 the Department, Gerro asserts that, because the Department’s employees that initially responded

 to BlockFi’s License request appeared to be asserting that a finance lender may never take

 possession of collateral, this means that BlockFi was on notice that it could not retain possession

 of a borrower’s digital assets. Id. at p. 4.

         16.     Third, Gerro asserts that, in practice, BlockFi is an unlicensed pawnbroker who

 received BTC as pledged property to secure the Loan repayment. He again reaches back into the

 annals of history, citing to a section of California’s Penal Code from 1872, a First Circuit case

 from 1830, and an English case from 1606 to assert that BlockFi is actually a pawnbroker and

 BTC is a good. Gerro Response, at p. 276–78.

         17.     Fourth, and for the first time in this Court or in the State Court Litigation, Gerro

 raises an additional argument that BlockFi is acting as an unlicensed commercial bank because




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 banks receive money as deposits and lend money secured by personal or real property. Id. at p.

 281. His only authority for this assertion is an article from the New York Times. Id.

                                                 Reply

         Knowing BlockFi’s liquidation was legally proper, Gerro made various strained,

 tangential, and often contradictory arguments to try and cobble together a claim that he is somehow

 entitled to 426 BTC. As detailed below, these arguments fail, and the Debtors respectfully request

 the Court exercise its authority to disallow the Gerro Claims.

 I.      This Court Has Authority to Disallow the Gerro Claims in Their Entirety

         18.     As an initial matter, by filing the Gerro Claims, Gerro has submitted to the

 jurisdiction of this Court to adjudicate his prepetition claims against BlockFi. “Filing a

 claim…triggers the process of ‘allowance and disallowance of claims,’ thereby subjecting [the

 claimant] to the bankruptcy's courts equitable power.” Langenkamp v. Culp, 498 U.S. 42, 44,

 (1990) (citing Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 58–59 & n. 14 (1989)). Moreover,

 when a proof of claim raises the same issues as a pre-petition state law claim, the filing of that

 claim transforms a non-core proceeding into a core-proceeding. Katchen v. Landy, 382 U.S. 323

 (1966) (“[A] creditor who offers a proof of claim and demands its allowance is bound by what is

 judicially determined.”); In re Simpson, No. 14-16173 (JNP), 2015 WL 6124004, at *5 (Bankr.

 D.N.J. Oct. 16, 2015) (explaining when a claimant attaches his state court complaints to his proof

 of claim, he raises the same issues as in the state court action); see also, First Fid. Bank v. Hooker

 Invs., Inc. (In re Hooker Invs., Inc.), 937 F.2d 833 (2d Cir. 1991) (creditors can be forced to choose

 between filing a proof of claim and thereby losing its right to a jury trial, or forgoing filing a proof

 of claim and preserving right to jury but risking loss of any distribution from estate).


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           19.    Gerro concedes this Court’s jurisdiction in his Response, acknowledging that the

 allowance and disallowance of claims is a core proceeding and consenting to “this Court’s entry

 of an order in this matter.” Gerro Response, at p. 7. While the Gerro Claims seek the return of 426

 BTC, the Gerro Response expressly states that the claims “exclude all interest, damages, fees,

 costs, and proceeds from Gerro’s bitcoin collateral.” Gerro Response, at p. 9. This Court’s

 determination of the Gerro Claims, however, shall serve as a binding resolution of Gerro’s

 prepetition claims against the Debtors as he reasserts his claims from the State Law Litigation and

 attaches the complaints. Any claim for amounts not asserted in a timely filed proof of claim are

 barred.

 II.       The Gerro Claims Lack Merit and Should be Disallowed.

           20.    The Gerro Claims should be disallowed in their entirety. The various arguments

 advanced by Gerro are factually incorrect and without legal merit. Despite the myriad of issues

 raised in the Gerro Response, the Gerro Claims simply assert an invalid interest in the 426 BTC

 Collateral. BlockFi had a perfected security interest in the 426 BTC as Loan Collateral and

 properly exercised its right to hold the Collateral. BlockFi exercised its right to liquidate the BTC

 Collateral when Gerro failed to meet his margin call. Afterwards, Gerro even requested an

 additional liquidation to pay off the balance of his loan. The initial post-Collateral liquidation

 discussions between BlockFi and Gerro were just that—discussions. Gerro, a sophisticated party

 licensed to practice law, knows as well as this Court that no legally binding post-liquidation

 agreement to reinstate the Loan or reverse the liquidation was entered into between the parties. 8


 8
   “The existence of a contract under California law requires four essential elements: parties capable of contracting;
 their consent; a lawful object; and a sufficient cause or consideration.” Fleming v. Oliphant Fin., LLC, 88 Cal. App.
 5th 13, 21 (Cal. Ct. App. 1st Dist. 2023). Moreover, California law concerning contracts parallels Delaware law, both
 placing an emphasis on the party’s intent to be bound to any contract. Id. at 22. All the required elements were met
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          A.       BlockFi’s Liquidation of Gerro’s Loan Collateral Was Proper

          21.      Gerro, on three separate occasions, knowingly entered into agreements with

 BlockFi that explicitly detailed BlockFi’s rights to the BTC Collateral pledged by Gerro, as well

 as the conditions under which BlockFi could liquidate the Collateral. BlockFi did not control the

 price of BTC, and Gerro himself repeatedly recognized that the price fluctuated, sometimes

 drastically. Market conditions, combined with Gerro’s failure to meet the margin call, placed

 Gerro’s Loan into default and led BlockFi to enforce the terms of the Loan Agreement. Gerro

 recognized the liquidation was proper, and his litigious steps taken afterward have amounted to

 nothing more than baseless allegations, forcing BlockFi to incur unnecessary legal and

 administrative expenses pre- and post-bankruptcy. Gerro cannot now seek a windfall in the form

 of the 426 BTC, currently worth over $12 million USD 9, when he is not a creditor of these estates.

          B.       BlockFi Was Properly Licensed by the State of California.

          22.      Gerro’s other arguments attached to the Gerro Claims can easily be dismissed.

 Gerro’s assertion that § 22009 of the CFL prohibits a finance lender to take possession of collateral

 requires an interpretation that the phrase “may include” actually means “shall only include.” His

 pleadings in the State Court litigation and the Gerro Response repeatedly include citations to the

 same set of cases, despite the fact that these cases lack any analysis of what a finance lender may




 with respect to the formation of the Loan Agreement. In contrast, none of the required elements were met with respect
 to Gerro’s reversal request, nor was there any intent on BlockFi’s part to be bound to these preliminary negotiations.
 The negotiations died, and any potential for reversal died with them. “When two parties, under no compulsion to do
 so, engage in negotiations to form or modify a contract, neither party has any obligation to continue negotiating or to
 do so in good faith.” Copeland v. Baskin Robins U.S.A., 96 Cal. App. 4th 1251, 1260 (Cal. App. 2d Dist. 2002).

 9
    The price of BTC when the market opened on August 9, 2023 was $29,790.96 USD. See
 https://finance.yahoo.com/quote/BTC-USD/history/.
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 do under the CFL, both because they predate the CFL and because the entities in question were

 personal property brokers, not finance lenders. 10

         23.      Despite his lengthy focus on the initial, pre-license communications between the

 Department and BlockFi, Gerro neglects to address that BlockFi responded to the Department

 through counsel retained to advise the company on CFL, both in a letter to the Department and in

 a request for an interpretive opinion from the Commissioner of Business Oversight (the

 “Commissioner”), seeking clarification on the employee’s statements. BlockFi sought this

 additional clarification as the broad assertion that a finance lender may never hold assets of

 California borrowers as collateral for loans is absurd on its face to anyone with even a rudimentary

 knowledge of finance and lending practices.

         24.      BlockFi’s counsel, Charles Washburn (“Washburn”), submitted a declaration under

 penalty of perjury (the “Washburn Declaration”) in Gerro II in which he explained that, contrary

 to Gerro’s accusations BlockFi “modified its representation [about what it would do with

 borrower’s collateral] in an attempt to obtain” the License [Gerro Response, p. 41], the Department

 was aware at all times of BlockFi’s intention to hold cryptocurrency as security for loans.11

 Washburn Declaration, ¶¶ 4–9. A true and correct copy of the Washburn Declaration is attached

 hereto as Exhibit C. The Washburn Declaration also clarifies that the Department advised

 Washburn that (i) it agreed with BlockFi’s analysis of CFL § 22009, (ii) made no requests that

 BlockFi change its’ business plan, and (iii) declined to issue a formal interpretive opinion as the



 10
   See Ex parte Stephan, 170 Cal. 48, 148 P. 196 (1915); W. Pico Furniture Co. v. Pac. Fin. Loans, 2 Cal. 3d 594, 469
 P.2d 665 (1970); Carter v. Seaboard Fin. Co., 33 Cal. 2d 564, 570, 203 P.2d 758 (1949).
 11
   See Declaration of Charles E. Washburn, Jr. Re: Supplemental Reply Brief of Brief Defendants BlockFi Lending,
 LLC and Blockfi, Inc. In Support of Forum Non Conveniens Motion and Demurrer, Gerro II, March 23, 2021.
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 issuance of the License to BlockFi would be evidence of the Department’s approval of BlockFi’s

 business plan. Ex. C at ¶¶ 7–10.

         25.     Jan Lynn Owen (“Owen”), the Commissioner of the Department during the time

 that BlockFi’s License was issued, also submitted a declaration under penalty of perjury (the

 “Owen Declaration”) in Gerro II. 12 A true and correct copy of the declaration is attached as

 Exhibit D. Owen confirms that:

         The business practice of holding and using collateral-including the rehypothecation
         of that collateral- is common both in California and throughout the United States in
         connection with secured lendings. As Commissioner, I was required to become
         intimately familiar with…the CFL (including section 22009) as well as the
         Uniform/California Commercial Code, and the argument that the holding or use of
         collateral by a finance lender is somehow inconsistent with either of these laws is
         incorrect. Indeed, a rule to the contrary-that finance lenders were somehow not
         permitted to hold or use collateral securing loans-would not only be contrary to
         established California law, it would significantly and detrimentally hamper lending
         activities…throughout the State. Accordingly, during my tenure as Commissioner,
         the [Department] granted finance lender licenses to businesses planning to hold
         and/or use collateral securing loans, including but not limited to licenses which I
         approved as…Commissioner.

 Ex. D at ¶ 6.

         26.     Finally, in its Tentative Decision on Demurrers to Petition for Writ of Mandate in

 Gerro III (the “Gerro III Notice of Ruling,” later adopted by the court as its final order), the

 Superior Court of California, County of Los Angeles, states the following regarding Gerro’s

 analysis of the statutory construction of § 22009:

         Petitioner contends that, as defined by section 22009, “a finance lender does not
         retain use or possession of personal property securing its loans.” (Oppo. 7-
         8.) However, the statutory language upon which Petitioner relies is not mandatory
         in nature (i.e., “shall include”), but rather permissive (“may include”). Section
         22009 does not clearly or explicitly prohibit a finance lender from using or
         possessing collateral. Petitioner has not developed an argument based on the

 12
   See Declaration of Jan Lynn Owen Re: Supplemental Reply Brief of Brief Defendants BlockFi Lending, LLC and
 Blockfi, Inc. In Support of Forum Non Conveniens Motion and Demurrer, Gerro II, March 23, 2021.
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        statutory scheme as a whole that a finance lender cannot, in any circumstance, use
        or possess the personal property that secures its loan. Petitioner does not submit or
        request judicial notice of any legislative history that supports his interpretation of
        section 22009. Thus, even if there was some ambiguity in section 22009 (which
        Petitioner does not identify), Petitioner has not provided the court extrinsic aids that
        could suggest Respondent illegally issued a license to BlockFi. Respondent [the
        Department], which has authority for issuing finance lender licenses, may also be
        entitled to deference in his interpretation of section 22009.

 Gerro III Notice of Ruling, p. 11–12 (emphasis added). A true and correct copy of the Gerro III

 Notice of Ruling is attached hereto as Exhibit E.

        C.      BlockFi is Not an Unlicensed Pawnbroker, or A Pawnbroker at All.

        27.     To be classified as a pawnbroker, an entity must actually receive “goods, including

 motor vehicles.” CAL. FIN. CODE. § 21000. While this section does not specifically define “goods,”

 the California Commercial Code states that “‘[g]oods means all things (including specially

 manufactured goods) which are movable at the time of identification to the contract for sale…”

 CAL. COMM. CODE § 2105.

        28.     BTC is not a “good,” but rather “a form of digital currency based on mathematical

 algorithms that is not controlled by any country, bank, or individual.” United States v. Costanzo,

 956 F.3d 1088, 1089 (9th Cir. 2020). Virtual currency is therefore appropriately classified under

 the UCC as a “general intangible,” defined as “any personal property, including things in action,

 other than accounts, chattel paper, commercial tort claims, deposit accounts, documents, goods,

 instruments, investment property, letter-of-credit rights, letters of credit, money, and oil, gas, or

 other minerals before extraction. The term includes payment intangibles and software.” CAL.

 COMM. CODE § 9102(a)(42) (emphasis added).




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        D.      BlockFi is Not an Unlicensed Commercial Bank

        29.     Like the flawed pawnbroker assertion, BlockFi is not an unlicensed commercial

 bank. Gerro cites to no case law to support the idea that a lender that takes collateral as security

 for a loan is a commercial bank and must seek to obtain a license as such.

        30.     Despite Gerro’s myriad attempts to mischaracterize BlockFi and misconstrue the

 statutory scheme of California regulatory laws, Gerro fails to articulate how his arguments result

 in any valid claim to 426 BTC. The Department issued a License to BlockFi as a finance lender,

 fully aware of its intention to hold and use collateral pledged by borrowers. BlockFi acted properly

 within the confines of the Loan Agreement, and Gerro’s assertions neither entitle him to rewind

 the clock nor receive a distribution from the BlockFi estate.

 III.   The Cross-Motion to Estimate Gerro’s Claims is Unnecessary

        31.      Gerro’s Cross-Motion to estimate is currently scheduled to be heard

 simultaneously with the Gerro Claim Objection, the adjudication of which will determine whether

 Gerro has an allowed claim for all purposes. As such, the Cross-Motion will be mooted by this

 Court’s decision on the Gerro Claim Objection.

        32.     In the event the hearing on the Gerro Claim Objection is adjourned to a later date,

 BlockFi requests that the Court estimate the Gerro Claims at $0 pending the outcome of the Gerro

 Claim Objection. Congress has given the bankruptcy courts broad discretion to estimate claims,

 and the Court may do so “using whatever method is best suited to the particular contingencies at

 issue.” Bittner v. Borne Chem. Co., Inc., 691 F.2d 134, 135, 137 n. 9 (3d Cir. 1982). Based on the

 facts and circumstances at issue here, Gerro has no claim and therefore the Gerro Claims should

 be estimated at $0.00.


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                                          Conclusion

        WHEREFORE, the Debtors respectfully request entry of an order disallowing the Gerro

 Claims and denying and/or mooting the Cross Motion to estimate.



                                                   Respectfully Submitted,

  Dated: August 10, 2023                           /s/ Michael D. Sirota

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           EXHIBIT A
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                                            LOAN AND SECURITY AGREEMENT


                                                                              
       This Loan and Security Agreement (this “Agreement ) is made on _________________________,       by and between
       %/1'%%11/
       ____________________________________________________________________________________________,
       ____________________________________________________________,
       !.).$)5)$4!,1%2)$).'!3
                                              ___________________________________________________________
                                                          ________________________________________________
        (“Borrower ) and BlockFi Lending LLC, with its principal place of business located at 150 Broadway, 19th Floor,
       New York, NY 10038 (“Lender ).

                1.       The Loan. Upon the terms and subject to the conditions set forth in this Agreement, Lender agrees
       to make a single loan to Borrower in the principal;
        ____________________________________________________________________________________________
         36/-),,)/.36/(4.$1%$!.$2%5%.37&)5%3(/42!.$$/,,!12
       dollars ($__________________)
                                   (the “Loan ) on the date all of the terms and conditions to making such Loan have
       been satisfied in Lender s sole discretion (the “Closing Date ). Upon disbursement of the Loan proceeds, Lender
       shall collect an origination fee equal to ___________%
                                                              of the principal sum of the Loan (the Loan Origination
       Fee ), which is fully earned by Lender on the date it is collected. Lender shall deduct the Loan Origination Fee from
       the Loan proceeds and disburse the remaining Loan proceeds to the Borrower on the Closing Date. This is a closed-
       end loan. Amounts repaid in respect of the Loan may not be reborrowed. The indebtedness of Borrower to Lender
       on account of the Loan ( Indebtedness ) includes the Loan, the Loan Origination Fee, advances, debts, expense
       reimbursement, fees, liabilities, and obligations (whether or not such amounts are then required or contingent, or are
       liquidated or determinable) at any time owing by Borrower to Lender, of any kind or nature, present or future, whether
       or not evidenced by any note, agreement or other instrument including, without limitation, all principal, interest
       (including interest accruing at the then applicable rate provided herein after the Maturity Date (as defined below) and
       interest accruing at the then applicable rate provided herein after the filing of any petition in bankruptcy, or the
       commencement of any insolvency, reorganization or like proceeding, whether or not a claim for post-filing or post-
       petition interest is allowed in such proceeding), fees, charges, expenses, attorneys fees and any other sum chargeable
       to Borrower under any of the Related Documents (as defined below) to the extent permitted by applicable law.
       Capitalized terms not otherwise defined in this Agreement shall have the meanings provided by the Uniform
       Commercial Code as in effect in the State of Delaware (“UCC ) to the extent such terms are defined therein.

                2.      Related Documents. This Agreement and such other agreements, certificates, instruments,
       guaranties, authorizations or other documents executed to further, permit, effect or promote any purpose set forth in
       this Agreement, as such may be amended, restated, supplemented or otherwise modified from time to time
       (collectively with this Agreement, the “Related Documents ), including, without limitation, any UCC-1 financing
       statements naming Borrower as debtor and Lender as the secured party (the “UCC-1 Financing Statement ), and
       any other security agreement relating to the Collateral, memorialize the terms and conditions pursuant to which
       Lender is willing to provide the Loan. Borrower understands and agrees that this Agreement and the other Related
       Documents shall apply to the Loan and the Indebtedness, including, without limitation, the granting, renewing or
       extending of the Loan as provided herein.

                3.      Repayment Terms. Borrower agrees to repay the Loan in installments as set forth below, provided
       that any principal balance and any unpaid accrued interest thereon shall be due and payable not later than
                    (the “Maturity Date ). All payments of principal and interest and other sums due hereunder shall
       be made in immediately available funds to the Lender at such account or place as the Lender may specify for such
       purpose by written notice to Borrower from time to time. Borrower agrees that Lender s internal records shall, absent
       manifest error, serve for all purposes as conclusive evidence of the outstanding principal balance of loans, as well as
       the amount of interest, fees and charges that may be owed to Lender at any time. Lender may apply Borrower s
       payments in any manner permitted by applicable law, but generally shall apply payments first to interest then due,
       then to any outstanding fees, charges or other expenses, and then to principal.


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                         (a)      Interest. The annual interest rate on the outstanding principal amount of the Loan from the
       date hereof until payment of the Loan in full shall be 
                                                                _______%.
                                                                             All interest accrued hereunder shall be calculated
       on a simple interest basis. Interest shall be calculated on the basis of a 360-day year consisting of twelve (12) months
       of thirty (30) days each. If at any time and for any reason whatsoever, the interest rate payable on the Loan shall
       exceed the maximum rate of interest permitted to be charged by Lender to Borrower under applicable law, such
       interest rate shall be reduced automatically to the maximum rate of interest permitted to be charged under applicable
       law. Any amount added to principal pursuant to this Agreement or any Related Document shall bear interest at the
       rate specified herein and shall be payable with such interest upon demand by Lender and absent such demand, as
       otherwise provided herein.1

                        (b)      Interest Only Payments. Until the Maturity Date, Borrower agrees to make payments of
       interest accrued on the outstanding principal balance of the Loan. The first payment will be due one month after the
       date of this agreement and every month thereafter (for example, if the agreement is signed on January 5 th, the first
       payment will be due on February 5th, and subsequent payments will be due on the 5th of each month). Borrower s
       first payment may be higher depending on the actual funding date of the loan, and the amount of interest payable may
       vary in certain instances such as a payment due date change.2

                        (c)    Final Maturity Date Payment. Borrower agrees to pay the entire principal amount (which
       is inclusive of the Loan Origination Fee) and all accrued and unpaid interest at the rate expressed herein on the
       Maturity Date, unless earlier accelerated pursuant to the terms and conditions of this Agreement, or the other Related
       Documents.

                        (d)       Prepayments. Borrower may prepay the outstanding principal and all accrued and unpaid
       interest thereon at the rate expressed herein without penalty.3

                       (e)      Late Payments. To the extent permitted under applicable law, Borrower agrees that if any
       payment pursuant to Section 3(b) or Section 3(c) is not made within ten (10) days of the due date, (i) Borrower will
       be charged a late charge of fifteen dollars ($15.00) or five percent 5.00% of the amount of the past due payment,
       whichever is greater; and (ii) Lender may liquidate a portion of the Collateral in an amount equal to any late payment
       and corresponding late charge.

               4.       Conditions to Lender s Obligations. Lender s obligation to advance funds under this Agreement
       shall be subject to the satisfaction of all of the conditions set forth in this Agreement and the Related Documents,
       including, without limitation, the following specific conditions precedent:

                       (a)    Related Documents. Borrower shall electronically execute all Related Documents, in form
       and substance acceptable to Lender.

                        (b)      Representations and Warranties. The representations and warranties set forth in this
       Agreement and the other Related Documents are true and correct in all material respects; provided, however, that
       those representations and warranties expressly referring to another specific date shall be true and correct in all material
       respects as of such date.

                        (c)     No Event of Default. There shall not exist at the time of the advance, and after giving effect
       thereto, a condition which would constitute an Event of Default under this Agreement.

       1
         If you are not a resident of the U.S. or Canada or you have requested a loan with no monthly interest payments, please see,
       “Appendix A: Bullet Loans for your interest rate definition.
       2
         Unless you are a resident of the state of Illinois, in which case, payments will be fully-amortizing. Please see, “Appendix B:
       Loan Disclosures, at the end of this agreement for more details. If you are not a resident of the U.S. or Canada or you have
       requested a loan with no monthly interest payments, please disregard this section.
       3
         If you are not a resident of the U.S. or Canada or you have requested a loan with no monthly interest payments, please see,
       “Appendix A: Bullet Loans for your Prepayments definition.

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       Collateral. Borrower shall have transferred the Collateral into Lender s digital asset depository account at Gemini
       Trust      Company,        LLC        (“Gemini          or       the      “Depository ),        deposit      address

       (such account or any other account at the Depository to which Lender may transfer the Collateral, the “Depository
       Account ). If Borrower has a cryptocurrency account with Lender, Borrower authorizes Lender to initiate a transfer
       of collateral to the above deposit address. Lender may change the location of the Depository Account without notice
       to Borrower. Borrower agrees that Lender may, for its own account, pledge and repledge from time to time, without
       notice to the Borrower, either separately or in common with other such cryptocurrency, any or all of the Collateral
       and that Lender may do so without retaining in its possession or control for delivery, a like amount of similar
       Collateral. The parties agree that the holding of cryptocurrencies through the Depository constitutes the use of
       reasonable care with respect to the custody and preservation of the Collateral.

                        (d)      Priority. Lender shall have actual possession of, and a first priority security interest in, the
       Collateral.

       Notwithstanding the above, Borrower s failure to meet any of the conditions set forth in this Section 4 shall not
       provide any basis for Borrower to contest the enforceability of the Loan.

               5.      Grant of Security Interest in Collateral. For valuable consideration, the adequacy and receipt of
       which is hereby acknowledged, Borrower hereby:

                       (a)      pledges, assigns, transfers and delivers to Lender, and grants to Lender a continuing and
       unconditional first priority security interest in all of Borrower s present and future rights, title and interest in the
       following (collectively referred to as the “Collateral ) as security for the payment and performance of the
       Indebtedness:

                                 (i)      the Depository Account;

                                 (ii)    all cryptocurrency now or in the future held in, on deposit in or otherwise allocated
       to the Depository Account (including, without limitation, any cryptocurrency transferred to the Depository Account
       after the date hereof by the Borrower pursuant to Section 7 or otherwise);

                                (iii)  any other cryptocurrency now or in the future issued with respect to any of the
       foregoing cryptocurrency as a result of a fork or other event that results in the holders of cryptocurrency receiving
       additional or replacement cryptocurrency (whether or not such other cryptocurrency is held in, on deposit in or
       otherwise allocated to the Depository Account);

                                 (iv)               
                                          _____________________; 441.85 BTC

                               (v)      all rights to receive delivery of or withdraw any of the foregoing cryptocurrency
       from the Depository and all rights against the Depository with respect to the Depository Account, any of the foregoing
       cryptocurrency, and the proceeds thereof; and

                                 (vi)     all proceeds of the foregoing.

                        (b)       agrees that such security interest granted by Borrower to Lender constitutes a valid, first
       priority security interest in the Collateral, and will constitute a valid, first priority security interest in later-acquired
       Collateral. Notwithstanding any termination of this Agreement, Lender s security interest in the Collateral shall
       remain in effect for so long as any Indebtedness remains outstanding under this Agreement or any of the Related
       Documents.

                        (c)      agrees that Lender has the rights stated in this Agreement with respect to the Collateral, in

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       addition to all other rights which Lender may have by law.

                        (d)     authorizes Lender at any time and from time to time, at Borrower s expense, to file in any
       jurisdiction any financing statements and amendments that: (i) name the Collateral as collateral thereunder, regardless
       of whether any particular Collateral falls within the scope of the UCC; (ii) contain any other information required by
       the UCC for sufficiency or filing office acceptance, including organization identification numbers; and (iii) contain
       such language as Lender determines helpful in protecting or preserving rights against third parties. Borrower ratifies
       any such filings made prior to the date hereof.

                          (e)    acknowledges and agrees that the obligations of Borrower under this Agreement shall be full
       recourse obligations of Borrower and that Borrower is and shall remain personally liable to Lender for the payment
       in full of all Indebtedness and performance of all obligations hereunder.

              6.     Borro er s Representations, Warranties and Co enants. To induce Lender to enter into this
       Agreement and to make the Loan, Borrower hereby makes the following representations, warranties and covenants
       to Lender:

                        (a)     With respect to the Collateral, Borrower will, at all times, maintain a loan to value ratio
       where the outstanding principal balance of the Loan is less than or equal to seventy percent (70.0%) of the market
       value of the Collateral in the Depository Account calculated as either (i) the last trade price for each unit of the
       Collateral in the Depository Account that is quoted on the Gemini website, or (ii) the market value determined by
       Lender in its reasonable discretion (the “Required Loan to Value Ratio ).

                       (b)      Except for the security interest in the Collateral granted by Borrower to Lender under this
       Agreement, Borrower is the sole, legal and equitable owner of the Collateral and no other security agreement,
       financing statement, or other security instrument covering the Collateral exists.

                       (c)     Borrower has rights in or the power to transfer the Collateral, and its title to the Collateral is
       free and clear of liens, adverse claims, and restrictions on transfer or pledge, other than those created by this
       Agreement or the Related Documents.

                      (d)     There are no actions, suits, litigation or proceedings, at law or in equity, pending by or
       against Borrower before any court, administrative agency, or arbitrator.

                       (e)      Borrower is, and at all times prior to the Maturity Date will be, in compliance with all
       applicable federal and state laws, regulations and ordinances.

                       (f)      Borrower will not sell, dispose or otherwise transfer the Collateral or any interest in the
       Collateral without the prior written consent from Lender.

                        (g)     Borrower will not create or allow any other security interest or lien on the Collateral, other
       than those created by this Agreement or the Related Documents.

                       (h)      Upon Lender s request, Borrower will execute any financing statement or other document
       necessary to perfect or otherwise record Lender s security interest in the Collateral.

                         (i)      Borrower will notify Lender in writing prior to making any change in Borrower s: (i)
       residence, if such Borrower is an individual or sole proprietorship, (ii) principal place of business, if such Borrower
       is a business entity that is created without any state filings, or (iii) state of organization, if such Borrower is a business
       entity that is created by state filings.

                        (j)      Borrower will promptly pay all taxes and assessments due on the Collateral.


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                       (k)     Borrower is not engaged in the business of extending credit for the purpose of purchasing or
       carrying margin stock, and no proceeds of the Loan will be used to extend credit to others for the purpose of
       purchasing or carrying any margin stock.

                         (l)     Borrower is not, and is not required to be, registered as an “investment company under the
       Investment Company Act of 1940, as amended. Borrower is not subject to regulation under any law that limits the
       ability to incur debt or which may otherwise render all or any portion of the obligations hereunder unenforceable.

                          (m)      Neither Borrower nor any of its affiliates or officers, directors, brokers or agents of Borrower
       or its affiliates (i) has violated any anti-terrorism laws, (ii) has engaged in any transaction, investment, undertaking
       or activity that conceals the identity, source or destination of the proceeds from any category of prohibited offenses
       designated by the Organization for Economic Co-operation and Development s Financial Action Task Force on
       Money Laundering, (iii) is publicly identified on the most current list of “Specially Designated Nationals and Blocked
       Persons published by the Office of Foreign Assets Control of the U.S. Department of the Treasury (“OFAC ) or
       resides, is organized or chartered, or has a place of business in a country or territory subject to OFAC sanctions or
       embargo programs, (iv) is publicly identified as prohibited from doing business with the United States under the
       International Emergency Economic Powers Act, the Trading With the Enemy Act, or any other law, (v) conducts any
       business or engages in making or receiving any contribution of goods, services or money to or for the benefit of any
       person described in clauses (iii) or (iv) above, (vi) deals in, or otherwise engages in any transaction related to, any
       property or interests in property blocked pursuant to any anti-terrorism law or (vii) engages in or conspires to engage
       in any transaction that evades or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
       prohibitions set forth in any anti-terrorism law.

                        (n)     Borrower will use the proceeds of the Loan solely for lawful purposes and all representations
       and warranties set forth in Borrower s credit application are true, correct and complete as of the date of such credit
       application and the date of this Agreement.

                     Each representation, warranty and covenant shall be made by Borrower as of the date of this
       Agreement and as of the date of any renewal, extension or modification of the Loan.

                7.      Valuation; Additional Collateral. At any time, the market value of the Collateral in the Depository
       Account shall be either (a) the product of amount of Collateral times the last trade price for each unit of the Collateral
       in the Depository Account that is quoted on the Gemini website, or (b) the market value determined by Lender in its
       reasonable discretion (the “Collateral Market Value ). Borrower agrees that for purposes of calculating the
       Collateral Market Value Lender may take into account or disregard, at its sole discretion, the value of any new
       cryptocurrency held in the Depository Account created as the result of a forking or similar event that occurs after the
       date of this Agreement.

                        (a)     Upon notice by Lender to Borrower of the occurrence of a Trigger Event (hereinafter
       defined), Borrower shall promptly, and in no case later than seventy-two (72) hours after notice is provided, deposit
       additional Collateral into the Depository Account in such an amount as necessary to establish a loan to value ratio
       where the total of the outstanding principal balance of the Loan plus all other amounts due is equal to or less than
       fifty percent (50.0%) of the Collateral Market Value, provided that if at any time, the outstanding principal balance
       of the Loan is equal to or greater than eighty percent (80.0%) of the Collateral Market Value (the “Accelerated
       Maximum Loan to Value Ratio ), Lender has the right to immediately liquidate Collateral in such an amount as
       necessary to establish a loan to value ratio where the total of the outstanding principal balance of the Loan plus all
       other amounts due is equal to or less than seventy percent (70.0%) of the Collateral Market Value. Any Collateral
       liquidated by Lender is subject to a 3% processing fee. Any additional Collateral posted by Borrower pursuant to
       this Section 7 must be based in the same kind of cryptocurrency as the original Collateral.

       For purposes of this Section 7, (i) a “Trigger Event means an event where Lender becomes aware that Borrower
       has failed to maintain the Required Loan to Value Ratio and the outstanding principal balance of the Loan is greater
       than seventy percent (70.0%) of the Collateral Market Value (the “Maximum Loan to Value Ratio ), and (ii) “notice

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       is provided at the earliest of (x) the time Lender transmits an electronic communication to the Borrower of such
       Trigger Event, (y) the following day if sent by UPS, FedEx or other express mail overnight delivery, or (z) four (4)
       days from the date posted if sent by U.S. Mail, all in accordance with the Notices provisions of Section 25 hereof.

               8.       Default. Borrower shall be in default under this Agreement upon the occurrence of, and continuation
       of any of the following events, after giving effect to any applicable cure period (each, an “Event of Default ):

                       (a)      Borrower s failure to timely pay any payment when due, including any payments owed
       pursuant to Section 3(b) and Section 7(a);

                       (b)      A Trigger Event occurs and is continuing and Borrower fails to deposit additional Collateral
       as required pursuant to Section 7;

                       (c)      The Accelerated Maximum Loan to Value Ratio is then in effect and has not been cured
       pursuant to Section 7;

                         (d)     If Borrower is an entity, the dissolution or termination of Borrower s existence as a going
       business, the insolvency of Borrower, the appointment of a receiver for any part of Borrower s property, any
       assignment for the benefit of creditors, any type of creditor workout, the commencement of any proceeding under
       any bankruptcy or insolvency laws by or against Borrower or any levy, garnishment, attachment or similar proceeding
       is instituted against any property of Borrower held by Lender;

                         (e)      Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding,
       self-help, repossession or any other method, by any creditor of Borrower or by any governmental agency against any
       Collateral securing the Loan. However, the Event of Default specified in this Section 8(e) shall not apply if there is a
       good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or
       forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits
       with Lender monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender,
       in its sole discretion, as being an adequate reserve or bond for the dispute;

                        (f)     If Borrower is an individual, Borrower dies or becomes incompetent;

                       (g)      Borrower fails to comply with or to perform any other term, obligation, covenant or
       condition contained in this Agreement, any Related Document or any other agreement between Borrower and Lender;

                        (h)     Any warranty, representation or statement made or furnished to Lender by Borrower, or on
       Borrower s behalf, under this Agreement or any Related Document is false or misleading in any material respect,
       either now or at the time made or furnished or becomes false or misleading at any time thereafter;

                      (i)     A material adverse change occurs in the financial condition of Borrower, or the ability of
       Borrower to repay the Loan or perform under this Agreement or any other Related Document is impaired;

                      (j)      A change or material development in applicable law (including case law) or regulation makes
       the Loan unlawful, unless grandfathered; or

                          (k)  A general suspension in buying, selling or owning Bitcoin or Ethereum by U.S. federal
       governmental authorities or a suspension in buying, selling or owning digital assets or cryptocurrencies on at least
       three (3) major exchanges (including Gemini, GDAX / Coinbase, Kraken, or Bitstamp), with such disruption lasting
       at least five (5) days.

                        Borrower agrees to promptly notify Lender in writing upon the occurrence of any of the events
       described in this Section 8, in no case later than two (2) business days after the occurrence of such event.


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                9.      Remedies.

                       (a)      Upon an Event of Default and at any time thereafter, Lender may declare all amounts due
       under this Agreement immediately due and payable and shall have all the rights and remedies of a Lender under the
       UCC or as otherwise provided under applicable law. Without limiting the generality of the foregoing, Borrower
       expressly agrees that in any such default Lender may take immediate and exclusive possession of the Collateral and
       that Lender may liquidate the Collateral in whole or in part, at its sole discretion.

                       (b)     The proceeds of any sale or disposition of any part of the Collateral shall be distributed by
       Lender in the following order of priorities:

                                 (i)     to Lender for any reasonable costs, fees, or expenses incurred in connection with the
       sale or disposition of the Collateral, including any legal, accounting or other fees incurred;

                             (ii)    to Lender in an amount equal to any outstanding and unpaid Indebtedness under this
       Agreement and the Related Documents; and

                               (iii)   any remaining surplus to Borrower, in accordance with the UCC or as a court of
       competent jurisdiction may direct.

              10.    Arbitration Provision. If this contract is made to a business domiciled in the U.S. or Canada, please
       see Appendix A for the applicable Arbitration Provision.

                11.      Payment Failure. Borrower agrees that Lender may assess a fee (a “Payment Failure Fee ) of
       fifteen dollars (US$15.00) if any attempted payment by Borrower to Lender is not collected by Lender for any reason,
       including if wire transfers or checks are returned or fail due to insufficient funds in any account from which a payment
       is to be made to Lender. The amount of any Payment Failure Fee will be added to the balance due and payable on the
       relevant payment due date. Each business processing day in which a new non-payment occurs shall be deemed an
       “occurrence, with a maximum of one occurrence per day per deposit account, including single or multiple checks or
       drafts submitted or wire transfers attempted for payment on any payment due date.


                12.      Lender Appointed Attorney-In-Fact. Borrower hereby appoints Lender Borrower s attorney-in-
       fact, with full authority in the place and stead of Borrower and in the name of Borrower or otherwise, from time to
       time during the continuance of an Event of Default to take any action and to execute any instrument that Lender may
       deem necessary or advisable to accomplish the purposes of this Agreement (but Lender shall not be obligated to and
       shall have no liability to Borrower or any third party for failure to do so or take action). This appointment, being
       coupled with an interest, shall be irrevocable. Borrower hereby ratifies all that said attorney-in-fact shall lawfully do
       or cause to be done by virtue hereof.

                13.      Security Interest Absolute. To the extent permitted by law, Borrower hereby waives demand,
       notice, protest, notice of acceptance of this Agreement, Collateral received or delivered and all other demands and
       notices of any description. To the extent permitted by law, all rights of Lender and liens and security interests
       hereunder, and all Indebtedness of Borrower hereunder, shall be absolute and unconditional irrespective of:

                       (a)    any illegality or lack of validity or enforceability of any Indebtedness or any related
       agreement or instrument;

                        (b)     any change in the time, place or manner of payment of, or in any other term of, the
       Indebtedness, or any amendment or other modification of this Agreement or any other agreement, including any
       increase in the Indebtedness resulting from any extension of additional credit or otherwise;

                        (c)     any taking, exchange, substitution, release, impairment or non-perfection of any Collateral

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       or any other collateral, or any taking, release, impairment, amendment, waiver or other modification of any guaranty,
       for all or any of the Indebtedness;

                        (d)       any manner of sale, disposition or application of proceeds of any Collateral or any other
       collateral or other assets to all or part of the Indebtedness;

                        (e)     any default, failure or delay, willful or otherwise, in the payment of the Indebtedness;

                       (f)     any defense, set-off or counterclaim (other than a defense of payment or performance) that
       may at any time be available to, or be asserted by, Borrower against Lender; or

                       (g)     any other circumstance (including, without limitation, any statute of limitations) or manner
       of administering the Loan or any existence of or reliance on any representation by Lender that might vary the risk of
       Borrower or otherwise operate as a defense available to, or a legal or equitable discharge of, Borrower or any
       guarantor or surety.

                14.     Survival of Representations and Warranties. Borrower understands and agrees that in making this
       Loan, Lender is relying on all representations, warranties and covenants made by Borrower in this Agreement, the
       Related Documents and in any certificate or other instrument delivered by Borrower to Lender under this Agreement.
       Such Borrower further agrees that regardless of any investigation made by Lender, all such representations, warranties
       and covenants will survive the execution of this Agreement and the funding of the advance, shall be continuing in
       nature, and shall remain in full force and effect until such time as all of Borrower s obligations under this Agreement
       shall be fully satisfied, or until this Agreement shall be terminated in the manner provided herein, whichever is the
       last to occur.

                15.      Account Authorization. In order to satisfy Borrower s obligations under this Agreement, Borrower
       expressly authorizes Lender to initiate an electronic funds transfer (“EFT ) debit from Borrower s designated bank
       account (including any subsequent designated account identified to Lender by the Borrower) in accordance with the
       Authorization Agreement for Electronic Funds Transfer (EFT) Payments attached as Exhibit A (the “EFT
       Authorization ) for all amounts due and owing by Borrower to Lender under this Agreement, including, without
       limitation, all payments to be made by Borrower pursuant to Section 3 of this Agreement. In connection with such
       payments, Borrower further agrees to complete the EFT Authorization. Borrower authorizes Lender to resubmit any
       EFT debit authorized by Borrower that is returned for insufficient or uncollected funds, except as otherwise provided
       by NACHA – The Electronic Payment Association s EFT rules or applicable law.

               16.     Cost of Collection. To the extent permitted by law, Borrower agrees to pay all costs and expenses,
       including collection expenses, court costs, and reasonable attorneys fees, incurred by Lender in the collection or
       enforcement of this Agreement. Borrower also agrees to pay any and all withholding taxes applicable to the Collateral,
       including any withholding taxes on any amounts so paid and, upon written request by Lender, shall furnish Lender
       with evidence of payment thereof.

                17.     Termination. This Agreement shall terminate upon the payment in full of all Indebtedness and
       performance of all obligations hereunder. At such time, Lender s sole obligations shall be to direct the Depository to
       transfer the remaining Collateral in the Depository Account to Borrower, at a wallet address provided by Borrower
       to Lender, and to authorize Borrower to terminate any UCC financing statements filed by Lender against Borrower
       with respect to the Collateral.

               18.      Binding Effect. All representations, warranties, covenants and agreements by or on behalf of
       Borrower contained in this Agreement or any Related Documents shall bind Borrower s successors and assigns and
       shall inure to the benefit of Lender and its successors and assigns. Borrower shall not have the right to assign
       Borrower s rights under this Agreement or any interest therein, without the prior written consent of Lender. Any such
       assignment in violation of this Section 18 shall be null and void.


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              19.     Caption Headings. Caption headings in this Agreement and the Related Documents are for
       convenience purposes only and are not to be used to interpret or define the provisions of this Agreement or the Related
       Documents.

                20.    Cumulative Rights; Non-Exercise. Lender s rights under this Agreement are cumulative, and shall
       not be construed as exclusive of each other unless otherwise required by law. The non-exercise by Lender of any
       rights or remedies under this Agreement shall not constitute a waiver thereof in that or any subsequent instance.

                21.      Waiver. Lender shall not be deemed to have waived any rights under this Agreement unless such
       waiver is given in writing and signed by Lender. No delay or omission on the part of Lender in exercising any right
       shall operate as a waiver of such right or any other right. A waiver by Lender of a provision of this Agreement shall
       not prejudice or constitute a waiver of Lender s right otherwise to demand strict compliance with that provision or
       any other provision of this Agreement. No prior waiver by Lender, nor any course of dealing between Lender and
       Borrower shall constitute a waiver of any of Lender s rights or of the Borrower s obligations as to any future
       transactions. Whenever the consent of Lender is required under this Agreement, the granting of such consent by
       Lender in any instance shall not constitute continuing consent to subsequent instances where such consent is required
       and in all cases such consent may be granted or withheld in the sole discretion of Lender.

                22.    Entire Agreement; Integration. This Agreement and the other Related Documents constitute the
       entire agreement among the parties relating to the subject matter hereof and thereof and supersede any and all previous
       agreements and understandings, oral or written, relating to the subject matter hereof and thereof. Each Related
       Document, and any exhibit, schedule or similar addition to this Agreement or any Related Document, is hereby
       incorporated into this Agreement by this reference as though fully set forth herein.

               23.      Severability. If any part or parts of this Agreement shall be held unenforceable for any reason, the
       remainder of this Agreement shall continue in full force and effect. If any provision of this Agreement is deemed
       invalid or unenforceable by any court of competent jurisdiction, and if limiting such provision would make the
       provision valid, then such provision shall be deemed to be construed as so limited.

                24.    Usury Savings Clause. Lender and Borrower intend to contract in strict compliance with applicable
       usury law from time to time in effect. In furtherance thereof, Lender and Borrower stipulate and agree that none of
       the terms and provisions contained in the Loan Documents shall ever be construed to create a contract to pay for the
       use, forbearance or detention of money or interest in excess of the maximum amount of interest (including all charges
       and fees) permitted to be charged by applicable law, from time to time.

               25.      Notices. Any notice required or otherwise given pursuant to this Agreement shall be in writing and
       mailed certified return receipt requested, postage prepaid, delivered by overnight delivery service, or via electronic
       mail, addressed as follows:

                If to Lender:

                BlockFi Lending LLC
                150 Broadway, 19th Floor
                New York, NY 10038
                support@blockfi.com

                If to Borrower:
                %/1'%%11/




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       Either party may change such addresses from time to time by providing notice as set forth above.

               26.      USA Patriot Act Notice. Lender hereby notifies Borrower that, pursuant to the requirements of the
       USA Patriot Act (Title III of Pub. L. 107-56 (signed into law October 26, 2001)) (the “Act ), it may be required to
       obtain, verify and record information that identifies Borrower, which information includes the name and address of
       Borrower and other information that will allow Lender to identify Borrower in accordance with the Act.

                27.     Credit Report and Other Authorizations. Borrower authorizes Lender, its agents and
       representatives and any credit reporting agency engaged by Lender, to (a) investigate any references given or any
       other statements or data obtained from or about Borrower or any guarantor for the purpose of this Loan Agreement,
       (b) obtain consumer and business credit reports on Borrower and any guarantor, (c) contact personal and business
       references provided by Borrower, at any time now or for so long as any Indebtedness remains unpaid, and (d) share
       information regarding Borrower s performance under this Agreement with affiliates and unaffiliated third parties.

               28.     Counting of Days. Except where otherwise specifically provided, any reference in this Note to a
       period of “days means calendar days and not business days.

               29.      Amendment. This Agreement and the Related Documents constitute the entire understanding and
       agreement of the parties as to the matters set forth in this Agreement. No alteration, amendment, modification,
       termination, discharge or waiver of any provision of this Agreement or any other Related Document, or consent to
       any departure by either party therefrom, shall be effective unless given in writing and signed by the party or parties
       sought to be charged or bound by the alteration, amendment, modification, termination, discharge or waiver. Any
       such alteration, amendment, modification, termination, discharge or waiver shall be effective only for the specific
       purpose for which given.

                30.     Bankruptcy. The rights and priorities set forth in this Agreement shall remain binding irrespective
       of the terms of any plan of reorganization in any proceeding commenced by or against Borrower under any provision
       of the United States Bankruptcy Code (11 U.S.C. § 101, et seq.), as amended, and any successor statute (the
       “Bankruptcy Code ) or under any other federal or state bankruptcy or insolvency law, including assignments for
       the benefit of creditors, formal or informal moratoria, compositions, extensions generally with its creditors, or
       proceedings seeking reorganization, arrangement, or other similar relief, and all converted or succeeding cases in
       respect thereof or other provisions of the Bankruptcy Code or any similar federal or state statute.

                31.      Governing Law; Acceptable Forums; Waiver of Jury Trial. EXCEPT                          FOR        THE
       ARBITRATION PROVISION, WHERE APPLICABLE, WHICH SHALL BE GOVERNED BY FEDERAL LAW,
       THIS AGREEMENT WILL BE GOVERNED BY THE LAWS OF THE STATE OF DELAWARE WITHOUT
       REGARD TO ITS CONFLICTS OF LAW PROVISIONS. BORROWER UNDERSTANDS THAT BORROWER S
       AGREEING TO THE APPLICABILITY OF DELAWARE LAW AND VENUE ARE A MATERIAL FACTOR IN
       LENDER S WILLINGNESS TO ENTER INTO THIS AGREEMENT. Any suit, action or proceeding arising
       hereunder, or the interpretation, performance or breach of this Agreement, shall, if Lender so elects, be instituted in
       any court sitting in New Castle County, Delaware, (the “Acceptable Forums ). Borrower agrees that the Acceptable
       Forums are convenient to it, and submits to the jurisdiction of the Acceptable Forums and waives any and all
       objections to jurisdiction or venue. Should such proceeding be initiated in any other forum, Borrower waives any
       right to oppose any motion or application made by Lender to transfer such proceeding to an Acceptable Forum.
       Borrower irrevocably and unconditionally waives, to the fullest extent permitted by applicable law, any right it may
       have to a trial by jury in any legal proceeding directly or indirectly arising out of or relating to this Agreement or any
       Related Document or the transactions contemplated hereby or thereby (whether based on contract, tort or any other
       theory).

                32.      Facsimile Acceptance. This Agreement may be executed in any number of counterparts and by the
       different parties on separate counterparts. Each such counterpart shall be deemed an original, but all such counterparts
       shall together constitute one and the same agreement. The exchange of copies of this Agreement and of signature

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       pages by facsimile transmission (whether directly from one facsimile device to another by means of a dial-up
       connection or whether mediated by the worldwide web), by e-mail in “portable document format (“.pdf ) form, or
       by any other electronic means intended to preserve the original graphic and pictorial appearance of a document, or
       by combination of such means, shall constitute effective execution and delivery of this Agreement as to the parties
       and may be used in lieu of the original Agreement for all purposes. Signatures of the parties transmitted by facsimile
       shall be deemed to be their original signatures for all purposes.

                33.     Military Lending Act. The Military Lending Act provides protections for certain members of the
       Armed Forces and their dependents (“Covered Borrowers ). The provisions of this section apply to Covered
       Borrowers. Federal law provides important protections to members of the Armed Forces and their dependents relating
       to extensions of consumer credit. In general, the cost of consumer credit to a member of the Armed Forces and his or
       her dependent may not exceed an annual percentage rate of 36%. This rate must include, as applicable to the credit
       transaction or account: (a) the costs associated with credit insurance premiums; (b) fees for ancillary products sold in
       connection with the credit transaction; (c) any application fee charged (other than certain application fees for specified
       credit transactions or accounts); and (d) any participation fee charged (other than certain participation fees for a credit
       card account). Before signing this Agreement, in order to hear important disclosures and payment information about
       this Agreement, you may call 1-646-779-9688.

               34.     Transferable Record. Borrower expressly agrees that this Agreement is a “transferable record as
       defined in applicable law relating to electronic transactions and that it may be created, authenticated, stored,
       transmitted and transferred in a manner consistent with and permitted by such applicable law.

               35.     Loan Transferability. Borrower expressly agrees and acknowledges that Lender may assign this
       Agreement and the Related Documents, or any of Lender s rights under this Agreement or the Related Documents,
       in whole or in part at any time. Borrower further understands, acknowledges and agrees that Lender or another third
       party may further sell, assign or transfer this Agreement, the Related Documents and all associated documents and
       information related to this Agreement and the Related Documents without Borrower s consent or notice to Borrower.


                                      [The remainder of this page intentionally left blank.]




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               IN WITNESS WHEREOF, the parties have caused this Agreement to be executed the day and year first
       written above.


       BORROWER



                                                         By:
                                                                  Name: %/1'%%11/


       LENDER

                                                         BlockFi Lending LLC, a Delaware limited liability company



                                                         By:
                                                                  Name: Flori Marquez
                                                                  Title: Co-Founder and VP of Operations




                                         Signature Page to Loan and Security Agreement




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       Please re ie and confirm the information belo . Pa close attention and ens re the F nding C rrenc is
       accurate. Note that if funding your loan in Stablecoin, funds must be sent to a wallet that supports the
       specified currency or funds may be permanently lost. BlockFi will not be responsible for any errors arising
       from an incorrectly specified Stablecoin currency or Destination Wallet Address.

       Funding Currency

       Your loan will be funded in                                    ____________________________________________
                                                                       )1%
       (If you would like   be f ded i S ab ec i ,   ea e ki        he S ab ec i   e ec i   be   )

       Bank Wires

       Beneficiary Name                                              %/1'%%11/
                                                                     ____________________________________________

       Beneficiary Address                                                                                       ___________


       (Please ensure the Name and Address match that associated with your Bank, otherwise funds may be delayed)

       US Bank Information

       Bank Account # (USA)                                                           _______________________________

       Wire Capable Routing # (USA)                                                _________________________________

       Non-US Bank Information

       IBAN (only required for Non-USA Wires)                         ____________________________________________

       SWIFT / BIC (only required for Non-USA Wires)                  ____________________________________________

       Stablecoin

       Destination Wallet Address                                     ____________________________________________
       (Please ensure that the Destination Wallet Address and Stablecoin Currency above are correct. Funds sent to an incorrect
       address may be permanently lost. BlockFi will not be responsible for any errors arising from an incorrectly specified
       Stablecoin currency or Destination Wallet Address)




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        Lender                                                           Borrower

        BlockFi Lending LLC                                              %/1'%%11/
                                                                         _____________________
        150 Broadway
        19th Floor                                                                                __
                                                                                                  .)3%$3!3%2/&-%1)#!

        New York, NY 10038

                                     TRUTH IN LENDING DISCLOSURE STATEMENT


            ANNUAL                        FINANCE CHARGE              Amount Financed           Total of Payments
            PERCENTAGE RATE
                                          The dollar amount the       The amount of credit      The amount you will
            The cost of your credit as    credit will cost you        provided to you or on     have paid when you
            a yearly rate                                             your behalf               have made all scheduled
                                                                                                payments
                     _________
                                            _________
                                                                       _________
                                                                                               _________
                                                                                                          


       Your payment schedule will be as follows:
             Number of payments               Amount                               When payments are due
                                                                  First payment is due on ____________________
                                                                                                         ,
                                                                 and each subsequent payment is due monthly
                     _________               _________
                                                
                                                                  thereafter on the same day of each month

                                                                  Last payment is due on
                     _________
                                            _________
                                                                                       ____________________
                                                                                                 


       Security: You are giving a security interest in the following collateral:

             _________________________
                                         441.85 BTC


       Late charges: If your payment arrives more than 10 days after the date on it is due, you may be charged a late
       fee equal to the greater of 5.00% of the past due payment or $8.

       Prepayment policy: Borrower may prepay the outstanding principal and all accrued and unpaid interest
       thereon at the rate expressed herein without penalty.

       See your Loan and Security Agreement for any additional information about nonpayment, default, any
       required repayment in full before the scheduled date, collateral and termination matters.




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       Itemization of Amount Financed of $______________
                                              

           Amount given to you directly                           Amount paid to others on your behalf:
                                                                    Loan ID: 105f77a0 - $651,391.21
           ________________________________
                 $141,731.12                               ________________________________
                                                                    Loan ID: f202e284 - $1,481,877.67

           Amount paid on your account                            Prepaid finance charge to BlockFi Lending LLC

           ________________________________
                                                              ________________________________
                                                                  




       The payment amounts disclosed in the payment schedule are calculated on the assumption that you will make all
       payments on the applicable payment due date and assume, for purposes of this disclosure, that all months have 30
       days. Please note that monthly loan payments are made on an “interest-only basis until the final payment is due.
       This means that the actual amount of a monthly loan payment may increase when you make a payment after the
       payment due date or decrease when you make a payment before the payment due date. The payment amount will
       also vary based on the actual days in any given month.




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                                                                                                            Rev. Aug. 2018

                              WHAT DOES BLOCKFI DO
              FACTS
                              WITH YOUR PERSONAL INFORMATION?

        Why?                  Financial companies choose how they share your personal information. Federal law gives
                              consumers the right to limit some but not all sharing. Federal law also requires us to tell
                              you how we collect, share, and protect your personal information. Please read this notice
                              carefully to understand what we do.

        What?                 The types of personal information we collect and share depend on the product or service you
                              have with us. This information can include:
                                   ▪ Social Security number and income
                                   ▪ account balances and payment history
                                   ▪ credit history and credit scores
                              When you are no longer our customer, we continue to share your information as described
                              in this notice.

        How?                  All financial companies need to share customers personal information to run their everyday
                              business. In the section below, we list the reasons financial companies can share their
                              customers personal information; the reasons BlockFi chooses to share; and whether you can
                              limit this sharing.

         Reasons we can share your personal information           Does BlockFi share?        Can you limit this sharing?
        For our everyday business purposes
        such as to process your transactions, maintain
                                                                           Yes                            No
        your account(s), respond to court orders and legal
        investigations

        For our marketing purposes
                                                                           Yes                            No
        to offer our products and services to you

        For joint marketing with other financial                           No                       We don t share
        companies
        For o r affiliates e er da b siness p rposes
                                                                           No                       We don t share
        information about your transactions and experiences

        For o r affiliates e er da b siness p rposes
                                                                           No                       We don t share
        information about your creditworthiness

        For our affiliates to market to you                                No                       We don t share

        For nonaffiliates to market to you                                 No                       We don t share




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        Questions?            646-779-9688




        Who we are

        Who is providing this notice?                  BlockFi


        What we do
        How does BlockFi protect my personal           To protect your personal information from unauthorized access and
        information?                                   use, we use security measures that comply with federal law. These
                                                       measures include computer safeguards and secured files and
                                                       buildings.

        How does BlockFi collect my personal           We collect your personal information, for example, when you
        information?                                    ■ apply for a loan or give us your contact information
                                                        ■ pay your bills or give us your income information
                                                        ■ provide employment information
                                                       We also collect your personal information from others, such as
                                                       credit bureaus, affiliates, or other companies.
        Wh can t I limit all sharing?                  Federal law gives you the right to limit only
                                                        ■ sharing for affiliates everyday business purposes—
                                                            information about your creditworthiness
                                                        ■ affiliates from using your information to market to you
                                                        ■ sharing for nonaffiliates to market to you
                                                       State laws and individual companies may give you additional rights
                                                       to limit sharing.

        Definitions
        Affiliates                                     Companies related by common ownership or control. They can be
                                                       financial and nonfinancial companies.
                                                        ■    BlockFi does not share with our affiliates
        Nonaffiliates                                  Companies not related by common ownership or control. They can
                                                       be financial and nonfinancial companies.
                                                        ■    BlockFi does not share with nonaffiliates so they can market to
                                                             you
        Joint Marketing                                A formal agreement between nonaffiliated financial companies that
                                                       together market financial products or services to you.
                                                        ■    B ckFi d e      j i      a ke




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                                                                                           BlockFi Loan No. _____________
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                                                APPENDIX A: BULLET LOANS

       Interest. The annual interest rate on the outstanding principal amount of the Loan from the date hereof until payment
       of the Loan in full shall be the rate stated above in section 3(a) and in your loan offer on your client dashboard. All
       interest accrued hereunder shall be calculated on a front-loaded basis. Interest shall be calculated on the basis of a
       360-day year consisting of twelve (12) months of thirty (30) days each. Upon disbursement of the Loan proceeds,
       Lender shall collect an interest payment equal to the aforementioned rate times the principal sum of the Loan, prorated
       for the loan s term. All interest due is fully earned by Lender on the date it is collected. Lender shall deduct the all
       interest due from the Loan proceeds and disburse the remaining Loan proceeds to the Borrower on the Closing Date.
       If at any time and for any reason whatsoever, the interest rate payable on the Loan shall exceed the maximum rate of
       interest permitted to be charged by Lender to Borrower under applicable law, such interest rate shall be reduced
       automatically to the maximum rate of interest permitted to be charged under applicable law. Any amount added to
       principal pursuant to this Agreement or any Related Document shall bear interest at the rate specified herein and shall
       be payable with such interest upon demand by Lender and absent such demand, as otherwise provided herein.

       Prepayments. Borrower may prepay the outstanding principal at any time, subject to an adjustment to include an
       origination fee in lieu of prepaid interest. There is no additional charge for prepaying principal ahead of the Maturity
       Date. Prior to prepayment, the Borrower must give the Lender 5 business day notice. Interest payments made at
       origination will not be reimbursed.

       Arbitration Provision.

                         (a)     In the event that any Dispute (as hereinafter defined) cannot be resolved through a discussion
       between Borrower and Lender (individually “party and collectively “parties ), either party may demand that such
       Dispute be submitted to arbitration, which (if demanded) shall be the exclusive, final, and binding means for resolving
       such Dispute; provided, this arbitration provision shall not prevent the parties from obtaining injunctive relief from a
       court of competent jurisdiction to enforce the obligations of this agreement for which either party may obtain
       provisional relief pending a decision on the merits by the arbitrator. A “Dispute is a claim or controversy of every
       kind and nature between Borrower and Lender, including, but not limited to: (i) all claims or controversies arising
       out of or relating to any aspect of the relationship between the parties hereto, regardless of legal basis or theory; (ii)
       all claims or controversies involving the interpretation, construction, performance or nonperformance, enforcement,
       or breach of this agreement; and (iii) all claims or controversies that may arise after the termination of this agreement.
       This arbitration provision is intended to be broadly interpreted, and the term “Dispute shall have the broadest
       meaning possible. Any party may demand arbitration in writing by notice to the other party.

                         (b)     Any such arbitration shall be conducted under the Commercial Dispute Resolution Rules of
       the American Arbitration Association (“AAA ), except as modified herein. Alternatively, upon both parties consent,
       another arbitration association and its rules may be used. The arbitration proceedings shall be before a single neutral
       arbitrator who shall be an attorney, retired judge, or arbitrator experienced in commercial finance. The arbitrator
       shall be registered and in good standing with an arbitration association. The arbitrators shall apply applicable statutes
       of limitation and rules of privilege. Except as otherwise provided herein, the arbitrator shall have authority to award
       any remedy or relief that a court of the State of Delaware or federal court located in the State of Delaware could grant
       in conformity to applicable law on the basis of claims actually made in the arbitration. . Any arbitration will be held
       in New York County, NY, which the parties agree is a convenient location. Any arbitration award shall be
       accompanied by a written statement containing a summary of the issues in controversy, a description of the award,
       and an explanation of the reasons for the award. The non-prevailing party shall pay to the prevailing party, to the
       extent not prohibited by law, all of the prevailing party s arbitration costs and expenses, including reasonable
       attorneys fees, and the arbitrator shall award such in its decision. The arbitrator s award shall be final, and judgment
       may be entered upon such award by any court. All arbitration proceedings shall be confidential, and neither party
       shall disclose any information about the evidence produced by either party in the arbitration proceeding except as
       necessary in the course of a judicial, regulatory or arbitration proceeding, or as may be demanded by government
       authority; provided, before making any such disclosure the disclosing party shall give the other party reasonable
       advance written notice and an opportunity to prevent the disclosure.

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                         (c)      No class action arbitration may be ordered under this arbitration provision (this is referred
       to in the next sentence as the “class waiver ). If any part of this arbitration provision is found to be unenforceable,
       except for the class waiver, the rest shall be enforceable; but if the class waiver is found to be unenforceable, then
       this entire arbitration provision shall be unenforceable.

                        (d)      Because the parties hereto operate in interstate commerce, this Arbitration Provision shall be
       governed by the Federal Arbitration Act, as will any actions to compel, enforce, vacate, or confirm proceedings,
       awards, or orders of the arbitrator. This arbitration provision shall, with respect to such dispute, survive the
       termination or expiration of this agreement. Except for the enforceability of the arbitration provision discussed above,
       nothing in this arbitration provision shall be deemed to give the arbitrators any authority, power, or right to alter,
       change, amend, modify, add to, or subtract from any of the provisions of this agreement.




                                             APPENDIX B: LOAN DISCLOSURES

                 BlockFi Lending LLC is required to comply with the following state-specific lending disclosures

           (a) IF YOU ARE A RESIDENT OF OHIO:

                The Ohio laws against discrimination require that all creditors make credit equally available to all
                creditworthy customers and that credit reporting agencies maintain separate credit histories on each
                individual upon request. The Ohio Civil Rights Commission administers compliance with this law.

           (b) IF YOU ARE A RESIDENT OF MICHIGAN:

                In accordance with the Michigan Regulatory Loan Act, Michigan residents origination fee will not exceed
                the lesser of 5% of the principal loan amount or $300.

           (c) IF YOU ARE A RESIDENT OF ILLINOIS:

                In accordance with the Illinois Consumer Installment Loan Act, the repayment of this loan, at issuance, is
                scheduled to be in equal monthly installments with no balloon of principal at maturity. BlockFi does note
                that there will be no late fees applied as long as the customer pays the interest portion of their monthly
                payment.

           (d) IF YOU ARE A RESIDENT OF OREGON:

                This agreement is governed by Oregon Law.




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           EXHIBIT B
5/21/2020 Case 22-19361-MBK                                            Doc 1341BlockFi
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                                                                                       Mail -08/10/23
                                                                                              BlockFi Loan ID Entered     08/10/23
                                                                                                              41725c18 - Margin           15:59:45
                                                                                                                                Liquidation                                                                               Desc Main
                                                                              Document              Page 38 of 92
                                                                                                                                                                                                                Jake Gargiulo <jake@blockfi.com>



 BlockFi Loan ID 41725c18 - Margin Liquidation
 2 messages

 Jake Gargiulo <jake@blockfi.com>                                                                                                                                                                                         Thu, Mar 12, 2020 at 7:47 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Sales <sales@blockfi.com>, Finance <finance@blockfi.com>
 Bcc: 5542880@bcc.hubspot.com

   Hi,


   As mentioned in our previous emails, due to the further price drop to and no action being taken, we had to sell your collateral against your loan as your loan was in Default.


   Please see transaction details below:


   Crypto Sold: -258.27229 BTC
   Price: 5701.98
   USD Raised: $1,472,643.00



                                                   Pre-Liquidation Balance                                                Post Liquidation

     Loan IDs            Collateral           Loan Balance                 Collateral            Collateral Sold             Loan Balance                 Collateral

     41725c18                BTC              $2,275,000.21                   441.85                -258.27229                 $802,357.21               183.577706


   Let me know if you have any questions moving forward.


   Best,


   Jake Gargiulo
   Head of Client Service

   jake@blockfi.com
   Office: 646.779.9688
   Mobile: 315.992.8551
   201 Montgomery Street, 263, Jersey City, NJ 07302




 George Gerro <georgejgerro@gmail.com>                                                                                                                                                                                              Fri, Mar 13, 2020 at 4:2
 To: Jake Gargiulo <jake@blockfi.com>
 Cc: Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

   Hello Jake,


   Thank you for the accounting below. Please provide another updated one. Excess collateral should be sent to 37BrJ1eYTebFadLbTQYMeiwxKcpDR6bp5q


   Yesterday was a terrible day for me, but I will always believe in bitcoin.


   Sincerely,


   George Gerro
   (818) 568-6380


           On Mar 12, 2020, at 4:47 PM, Jake Gargiulo <jake@blockfi.com> wrote:




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           Unless speciﬁcally indicated, this e-mail is not an offer to sell or a solicitation of any investment products or other ﬁnancial product or service, an ofﬁcial conﬁrmation of any transaction, or an ofﬁcial statement of BlockFi Inc or its
           afﬁliated entities. This e-mail is meant only for the intended recipient of this transmission, and may contain trade secrets and strictly conﬁdential information belonging to the sender, or material which is protected by the attorney-client
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           telephone at (646) 779-9688 or by return email and promptly delete this message from your system.




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Gmail - BlockFi Loan ID 41725c18 - Margin Liquidation                     Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                                                                                               Desc Main
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                                                                                                                                                                                                       George Gerro <georgejgerro@gmail.com>



 BlockFi Loan ID 41725c18 - Margin Liquidation
 36 messages

 Jake Gargiulo <jake@blockfi.com>                                                                                                                                                                                           Fri, Mar 13, 2020 at 12:04 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hi,

  I hope this message finds you well. Given the recent market activity and your Loan being in Default, a liquidation was triggered on your Loan to cure your margin.

  Please see transaction details below:

  Crypto Sold: -81.1555 BTC
  USD Raised: 386300.1962

                                                               Pre-Liquidation                                                     Post Liquidation
        Loan IDs             Collateral            Loan Balance                   Collateral             Collateral Sold              Loan Balance                 Collateral


        41725c18                 BTC                802357.2062                  183.57771                    -81.1555                   416057.01               102.4222026

  Our backend and Risk Management systems have been updated and reflect this information. If your frontend dashboard does not reflect this information, it should be updated shortly.
  You may notice that the price at the time of the automated sale yesterday is slightly different than the current price at this moment. This difference is a result of our loan portfolio as a
  whole and liquidity at the time of sale when the market dropped last night.

  For BlockFi's view on current market conditions, please read this Blog Post written by our CEO Zac Prince.
  Please email support@blockfi.com if you have any questions, and thank you for choosing BlockFi.


  Best,

  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  Mobile: 315.992.8551
  201 Montgomery Street, 263, Jersey City, NJ 07302




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  affiliated entities. This e-mail is meant only for the intended recipient of this transmission, and may contain trade secrets and strictly confidential information belonging to the sender, or material which is protected by the attorney-client
  privilege and/or work product doctrine. It is unlawful for unauthorized individuals to review, use, copy, disclose, or disseminate confidential information. If you have received this e-mail in error, please notify the sender immediately by
  telephone at (646) 779-9688 or by return email and promptly delete this message from your system.




 George Gerro <georgejgerro@gmail.com>                                                                                                                                                                                        Fri, Mar 13, 2020 at 1:06 PM
 To: Jake Gargiulo <jake@blockfi.com>, support@blockfi.com
 Cc: Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hello Blockfi,

  Thank you for this update. Please disregard any previous requests for a return of remaining collateral. I was under the mistaken impression that the loan was fully paid off.

  I appreciate that I have an opportunity to remain a client of Blockfi.

  - George Gerro
  [Quoted text hidden]



 Jake Gargiulo <jake@blockfi.com>                                                                                                                                                                                             Fri, Mar 13, 2020 at 1:20 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Support <support@blockfi.com>, Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Absolutely George. It's been a tough ~36 hours for us all.

  Please let us know if you have any questions, we'll try to respond as quickly as possible given the higher volume of inquiries.


  Best,

  Jake Gargiulo

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                                                               Document    Page 40 of 92
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  Mobile: 315.992.8551
  201 Montgomery Street, 263, Jersey City, NJ 07302



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 Jake Gargiulo <jake@blockfi.com>                                                                                                                                      Fri, Mar 13, 2020 at 6:10 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hi,

  I hope this message finds you well. Given the recent market activity and your Loan being in Default, a liquidation was triggered on your Loan to cure your margin. Please note this
  liquidation was triggered late Thursday March 12th evening when LTV was above 80% and quickly deteriorating.

  Please see transaction details below:

  Crypto Sold: -59.1995 BTC
  USD Raised: $275,336.87

                                                Pre-Liquidation                                    Post Liquidation
        Loan IDs         Collateral    Loan Balance           Collateral        Collateral Sold      Loan Balance          Collateral


        41725c18           BTC          $416,057.01           102.4222             -59.1995           $140,720.14           43.2227

  Our backend and Risk Management systems have been updated and reflect this information. If your frontend dashboard does not reflect this information, it should be updated shortly. If
  you have any questions about your loan in the interim please email support@blockfi.com.
  You may notice that the price at the time of the automated sale yesterday is slightly different than the current price at this moment. This difference is a result of our loan portfolio as a
  whole and liquidity at the time of sale when the market dropped last night.

  For BlockFi's view on current market conditions, please read this Blog Post written by our CEO Zac Prince.
  Please email support@blockfi.com if you have any questions, and thank you for choosing BlockFi.


  Best,

  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  Mobile: 315.992.8551
  201 Montgomery Street, 263, Jersey City, NJ 07302



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 George Gerro <georgejgerro@gmail.com>                                                                                                                                 Fri, Mar 13, 2020 at 7:27 PM
 To: Jake Gargiulo <jake@blockfi.com>
 Cc: Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hello Jake,

  Please let me know the UTC time, exchanges or brokers, types of orders and its price, and how the bitcoins sold were attributable to my collateral
  specifically. I am mainly concerned because price is one thousand dollars higher at this time.

  Thank you. - George Gerro
  [Quoted text hidden]



 Flori Marquez <flori@blockfi.com>                                                                                                                                     Sat, Mar 14, 2020 at 7:03 AM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Jake Gargiulo <jake@blockfi.com>, Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hi George,

  Our trading team was placing orders Thursday night when there was very little liquidity in the market, which affects the trading price available to us, especially when placing larger
  trades, such as yours.

  We'll be reviewing these trades next week and seeing if there's anything we can do to ameliorate the negative experience you've had with us of having your collateral liquidated.

  Best,



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  Flori


  Flori Marquez
  Co-Founder, VP of Operations
  646.779.9688
  flori@blockfi.com
  201 Montgomery Street, Suite 263
  Jersey City, New Jersey 07302




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 George Gerro <georgejgerro@gmail.com>                                                                                                         Sat, Mar 14, 2020 at 11:20 AM
 To: Flori Marquez <flori@blockfi.com>
 Cc: Jake Gargiulo <jake@blockfi.com>, Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hello Flori,

  Thank you. I am appreciative of you and your team (especially Jake). All of my experiences with Blockfi have been positive and meaningful.

  I am open to any ideas.
  - George
  [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                         Sun, Mar 15, 2020 at 3:24 PM
 To: Flori Marquez <flori@blockfi.com>

  Hello Flori,

  I have an idea, and I would like to hear your’s too. Since solutions are time sensitive, please call me at your convenience.

  Sincerely,

  George Gerro
  (818) 568-6380

          On Mar 14, 2020, at 7:03 AM, Flori Marquez <flori@blockfi.com> wrote:



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 Flori Marquez <flori@blockfi.com>                                                                                                             Sun, Mar 15, 2020 at 5:15 PM
 To: George Gerro <georgejgerro@gmail.com>

  Hey George -

  Please share over email if okay. Currently working on some internal projects with engineering so a call is not possible until tomorrow.

  Best,

  Flori

  Flori Marquez
  Co-Founder, VP of Operations
  646.779.9688
  flori@blockfi.com
  201 Montgomery Street, Suite 263
  Jersey City, New Jersey 07302




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 George Gerro <georgejgerro@gmail.com>                                                                                                         Sun, Mar 15, 2020 at 5:48 PM
 To: Flori Marquez <flori@blockfi.com>

  Hello Flori,

  Thank you for responding on a Sunday.


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  My idea is to redeem the loan, since the average sale price for the collateral was approximately the same market price as BTC now. Blockfi would extend total credit of $2.275M to buy
  the approx. 400 BTC of sold collateral back off the open market. Then, I can possibly add more collateral to return the LTV ratio to 80%. Let me know if this works, or if you have any
  different ideas.

  - George
  [Quoted text hidden]



 Flori Marquez <flori@blockfi.com>                                                                                                                              Mon, Mar 16, 2020 at 7:59 AM
 To: George Gerro <georgejgerro@gmail.com>

  Hi George -

  Unfortunately we cannot extend uncollateralized loans. We can reverse sales if there is enough collateral on the loan to maintain a healthy LTV after the trade reversal.

  Let me know if I'm misunderstanding you.

  Best,

  Flori
  Flori Marquez
  Co-Founder, VP of Operations
  646.779.9688
  flori@blockfi.com
  201 Montgomery Street, Suite 263
  Jersey City, New Jersey 07302




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 George Gerro <georgejgerro@gmail.com>                                                                                                                          Mon, Mar 16, 2020 at 8:24 AM
 To: Flori Marquez <flori@blockfi.com>

  Hello Flori,

  I think we are both referring to the same intuition. Can you provide details of how this can work?

  Sincerely,

  George Gerro
  (818) 568-6380

          On Mar 16, 2020, at 7:59 AM, Flori Marquez <flori@blockfi.com> wrote:



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 Flori Marquez <flori@blockfi.com>                                                                                                                              Mon, Mar 16, 2020 at 8:44 AM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Jake Gargiulo <jake@blockfi.com>

  Hi George,

  You need to post enough collateral to bring the loan's LTV below 60% after the trade is reversed. I'm adding Jake who can help with the math on this.

  Best,

  Flori
  Flori Marquez
  Co-Founder, VP of Operations
  646.779.9688
  flori@blockfi.com
  201 Montgomery Street, Suite 263
  Jersey City, New Jersey 07302




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 George Gerro <georgejgerro@gmail.com>                                                                                                                          Mon, Mar 16, 2020 at 8:52 AM



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                                                               Document    Page 43 of 92
 To: Flori Marquez <flori@blockfi.com>
 Cc: Jake Gargiulo <jake@blockfi.com>

  Hi Flori and Jake,

  A 60% LTV is too high for me to comply. I need another option.

  Sincerely,

  George Gerro
  (818) 568-6380
  [Quoted text hidden]



 Jake Gargiulo <jake@blockfi.com>                                                                                                                                    Mon, Mar 16, 2020 at 9:29 AM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Flori Marquez <flori@blockfi.com>

  Hey George,

  Kindly noted. The Implied LTV if we reversed the trades would bring you to ~103% LTV at current levels, which is why we cannot do that.

  In order to reverse trades, we would need you to bring LTV down to at least 60% which would require an additional ~317 BTC to be posted as collateral. The situation we're trying to
  avoid is reversing the trades, then you being right back in margin/liquidation again, and then you get liquidated again at an even lower price.

  Again we appreciate all of your patience and understanding throughout these trying times, it's certainly been difficult for all. I hope you are staying safe.

  Please let us know if you have any questions.


  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  201 Montgomery Street, 263, Jersey City, NJ 07302



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 George Gerro <georgejgerro@gmail.com>                                                                                                                              Mon, Mar 16, 2020 at 10:36 AM
 To: Jake Gargiulo <jake@blockfi.com>
 Cc: Flori Marquez <flori@blockfi.com>

  Hello Jake,

  I appreciate your explanation. And yes, I am safe, but find the closure of restaurants to be inconvenient!

  Regarding LTV, since the price has already fallen tremendously, less collateral is necessary (especially since we just sold into capitulation). If the price continues to fall, additional
  margin could be required on a graduated basis. Thus, I recommend additional collateral of $500k or 99 BTC at this time. Otherwise, please propose other alternatives such as a
  personal guarantee.

  - George
  [Quoted text hidden]



 Jake Gargiulo <jake@blockfi.com>                                                                                                                                   Mon, Mar 16, 2020 at 10:54 AM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Flori Marquez <flori@blockfi.com>

  Agreed, it's the same in NYC.

  Unfortunately that would put you at a ~84% LTV, which would be subject to immediate liquidation (the scenario we're trying to avoid). Unfortunately the best we can do is a 60% LTV at
  this time given all the volatility in the market. It would be rather pointless to reverse the trades just to get liquidated again.

  Again we know these are difficult times and apologize for any inconvenience.


  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  201 Montgomery Street, 263, Jersey City, NJ 07302



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 George Gerro <georgejgerro@gmail.com>                                                                                                                              Mon, Mar 16, 2020 at 11:11 AM
 To: Jake Gargiulo <jake@blockfi.com>


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 Cc: Flori Marquez <flori@blockfi.com>

   Hi Jake,

   Why do we need to reverse the trades, rather than buy at today’s lower market prices?

   Sincerely,

   George Gerro
   (818) 568-6380

           On Mar 16, 2020, at 10:54 AM, Jake Gargiulo <jake@blockfi.com> wrote:



           [Quoted text hidden]




 George Gerro <georgejgerro@gmail.com>                                                                                                                          Mon, Mar 16, 2020 at 12:30 PM
 Cc: Flori Marquez <flori@blockfi.com>

   Hello Flori,

   You mentioned that you potentially have some ideas to ameliorate this situation. Can you opine at this time?

   - George
   [Quoted text hidden]



 Flori Marquez <flori@blockfi.com>                                                                                                                              Mon, Mar 16, 2020 at 12:37 PM
 To: George Gerro <georgejgerro@gmail.com>

   Hi George,

   Everything Jake said is accurate (and what I asked him to share with you, as I cannot respond as quickly). If you cannot post additional collateral as required, and we reverse the trades,
   we will end up liquidating more crypto at a lower price.

   We can absolutely work to reverse trades, but only if it leaves the client with a healthy loan.

   Let me know if that makes sense.

   Best,

   Flori
   Flori Marquez
   Co-Founder, VP of Operations
   646.779.9688
   flori@blockfi.com
   201 Montgomery Street, Suite 263
   Jersey City, New Jersey 07302




   [Quoted text hidden]
   [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                                          Tue, Mar 17, 2020 at 12:47 PM
 To: Jake Gargiulo <jake@blockfi.com>
 Cc: Sales <sales@blockfi.com>, Finance <finance@blockfi.com>, Flori Marquez <flori@blockfi.com>

   Hello all,

   This market crash has caused me to reevaluate my situation. In the bitcoin ethos, I would like to once again hold my own UTXO’s.

   As such, please calculate the payoff amount for my loan. Let the payoff reflect the fact that interest has only accrued for about one week, and that the loan balance has been
   substantially lower for the past few days. Go ahead and payoff the loan with proceeds from the remaining collateral, send the remaining bitcoin to me, and confirm my bitcoin address
   telephonically.

   Thank you - George Gerro
   [Quoted text hidden]



 Flori Marquez <flori@blockfi.com>                                                                                                                                Tue, Mar 17, 2020 at 1:16 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Jake Gargiulo <jake@blockfi.com>, Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

   Thanks, George. In order for BlockFi to proceed with liquidating collateral to payoff your loan, please complete the form attached here.

   Flori Marquez
   Co-Founder, VP of Operations



https://mail.google.com/mail/u/1?ik=17b0673405&view=pt&search=…g-a%3Ar-3748960746082520334&simpl=msg-f%3A1665157234723730729                                                       Page 6 of 11
                Case 22-19361-MBK
Gmail - BlockFi Loan ID 41725c18 - Margin Liquidation  Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                                                      Desc Main
                                                                                                                                                                    5/1/20, 3)53 PM
                                                              Document    Page 45 of 92
  646.779.9688
  flori@blockfi.com
  201 Montgomery Street, Suite 263
  Jersey City, New Jersey 07302




  [Quoted text hidden]
  [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                                         Tue, Mar 17, 2020 at 1:54 PM
 To: Flori Marquez <flori@blockfi.com>
 Cc: Jake Gargiulo <jake@blockfi.com>, Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hi All,

  The form did not request a withdrawal address.

  Sincerely,

  George Gerro
  (818) 568-6380

            On Mar 17, 2020, at 1:16 PM, Flori Marquez <flori@blockfi.com> wrote:



            [Quoted text hidden]




 Jake Gargiulo <jake@blockfi.com>                                                                                                                              Tue, Mar 17, 2020 at 1:59 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Flori Marquez <flori@blockfi.com>, Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Hi George,

  Once the payoff is processed, remaining collateral will automatically sweep to your Interest Account. From there you can submit a withdrawal request to an external wallet!


  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  201 Montgomery Street, 263, Jersey City, NJ 07302



  [Quoted text hidden]
  [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                                         Tue, Mar 17, 2020 at 2:04 PM
 To: Jake Gargiulo <jake@blockfi.com>
 Cc: Flori Marquez <flori@blockfi.com>, Sales <sales@blockfi.com>, Finance <finance@blockfi.com>

  Since the price is fluctuating, please send me confirmation immediately after the trade.

  Sincerely,

  George Gerro
  (818) 568-6380

            On Mar 17, 2020, at 1:59 PM, Jake Gargiulo <jake@blockfi.com> wrote:



            [Quoted text hidden]




 George Gerro <georgejgerro@gmail.com>                                                                                                                        Thu, Mar 19, 2020 at 11:45 AM
 To: Jake Gargiulo <jake@blockfi.com>
 Cc: Flori Marquez <flori@blockfi.com>

  Hello Jake,

  At $7500 per BTC, I will be able to bring the LTV to 60% for 63.7 btc additional collateral. Please confirm the math. Thank you.

  Sincerely,



https://mail.google.com/mail/u/1?ik=17b0673405&view=pt&search=…g-a%3Ar-3748960746082520334&simpl=msg-f%3A1665157234723730729                                                    Page 7 of 11
               Case 22-19361-MBK
Gmail - BlockFi Loan ID 41725c18 - Margin Liquidation  Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                                                         Desc Main
                                                                                                                                                                       5/1/20, 3)53 PM
                                                              Document    Page 46 of 92
  George Gerro
  (818) 568-6380
  [Quoted text hidden]



 Jake Gargiulo <jake@blockfi.com>                                                                                                                                  Thu, Mar 19, 2020 at 2:50 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Flori Marquez <flori@blockfi.com>

  Hey George,

  Thank you so much for your patience and my apologies for the delay in getting this over to you. Flori caught me up to speed, and I wanted to provide the full breakdowns for you in terms
  of options available to reinstate some of your loan/collateral. I'm providing a breakdown of what would be needed to reverse all trades that occurred, as well as what is needed to reverse
  the final trade that occurred to fully payoff the loan. If there are any other iterations you would like to review, please let me know and I can calculate.

  As it stands now, the loan is fully paid off backed by 0 collateral. As I'm sure you can imagine, the situation we must avoid is reversing any trades and then you being right back in
  Margin/Default territory which would trigger another liquidation, so we would require the reinstated balance be brought to a 60% LTV by either paying USD, or posting additional
  collateral.


                                                                          Trades
                                     Loan ID             USD Raised             Crypto Sold                  Asset
                     All Trades     41725c18            $2,275,000.00          426.0741673                    BTC
                   Final Trade      41725c18             $140,720.14               27.4469                    BTC

                                                                              Reinstate - Post Reversal
                                                           Principal                                    Collateral After
                                     Loan ID               Balance            Collateral Type              Reversal                   Implied LTV
         Reverse All Trades         41725c18            $2,275,000.00               BTC                   426.07416732                  90.65%
        Reverse Final Trade         41725c18             $140,720.14                BTC                   27.44687732                   87.05%

                                                                       Option 1. Additional Collateral Required
                                                           Principal
                                     Loan ID               Balance            Collateral Type       Collateral for 60% LTV           Need to Post
         Reverse All Trades         41725c18            $2,275,000.00               BTC                     643.746                     217.672
        Reverse Final Trade         41725c18             $140,720.14                BTC                      39.819                      12.372

                                                                          Option 2. USD Payment Required
                                                           Principal            Reinstated
                                     Loan ID               Balance              Collateral          Loan Available at 60%          Payment Needed
         Reverse All Trades 41725c18                    $2,275,000.00          426.07416732               $1,505,746.11               $769,253.89
        Reverse Final Trade 41725c18                     $140,720.14               27.447                  $96,997.26                  $43,722.88


  Please feel free to read through this and let myself and/or Flori know if you have any questions. Long story short, a payment of $769,253.89 would reinstate your loan to ~$1.5M backed
  by the full 426 BTC.

  I hope you're staying safe out there in LA! My brother is down in San Diego and has been keeping me updated. The last week (feels like much longer) been wild to say the least.


  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  201 Montgomery Street, 263, Jersey City, NJ 07302



  [Quoted text hidden]
  --


  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  201 Montgomery St, 263, Jersey City NJ 07302



  [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                                             Tue, Mar 24, 2020 at 2:16 AM
 To: Jake Gargiulo <jake@blockfi.com>, Flori Marquez <flori@blockfi.com>

  Hello Jake,


https://mail.google.com/mail/u/1?ik=17b0673405&view=pt&search=…g-a%3Ar-3748960746082520334&simpl=msg-f%3A1665157234723730729                                                        Page 8 of 11
               Case 22-19361-MBK
Gmail - BlockFi Loan ID 41725c18 - Margin Liquidation            Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                                           Desc Main
                                                                                                                                                                   5/1/20, 3)53 PM
                                                                        Document    Page 47 of 92
  Thank you very much for running the numbers. I am in the due diligence phase with a traditional source of capital.

  The multiple options you provided are helpful and appreciated. What is the formula for calculating the USD principal pay-down?

  - George
  [Quoted text hidden]



 Jake Gargiulo <jake@blockfi.com>                                                                                                                              Tue, Mar 24, 2020 at 6:25 AM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Flori Marquez <flori@blockfi.com>

  That's great news.

  Formula is: Reinstated Principal Balance minus Loan Available at 60% (based on reinstated collateral + price of BTC).

  Example 1.
  Reinstated Principal Balance: $2,275,000.00
  Reinstated Collateral: 426.07416732 BTC
  Loan Available at 60% (subject to fluctuate slightly based on BTC, assuming 426 BTC collateral at 60% LTV): $1,505,746.11
  Payment Needed: $2,275,000.00 - $1,505,746.11 = $769,253.89

  That payment would bring new principal balance to $1,505,746.11 backed by 426 BTC.




  Jake Gargiulo
  Head of Client Service

  jake@blockfi.com
  Office: 646.779.9688
  201 Montgomery Street, 263, Jersey City, NJ 07302



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  [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                                         Mon, Apr 27, 2020 at 6:41 AM
 To: Jake Gargiulo <jake@blockfi.com>, Flori Marquez <flori@blockfi.com>

  Hello Jake and Flori,

  I accept Blockfi's offer to reverse my collateral sales.

  Reinstated Principal Balance ($2275000) - Loan Available at 60% ($1,968,120 i.e. (426 BTC * $7700 * 0.6)) = $306,880 loan pay down / $7700 per BTC = 39.854545 BTC

  New principal balance of $1,968,120 backed by 426 BTC collateral, with a post-reversal LTV of 60%.

  I will send the BTC today. Please confirm Blockfi's bitcoin address.

  Thank you, George
  [Quoted text hidden]



 Jake Gargiulo <jake@blockfi.com>                                                                                                                              Mon, Apr 27, 2020 at 7:36 AM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Flori Marquez <flori@blockfi.com>

  Hi George,

  Followed up via text but wanted to follow up here as well. Reviewing with the Team and will revert back. To be transparent and manage your expectations, given that it's been well over a
  month since the liquidation (almost two) and BTC is much higher now, my outlook is doubtful. On initial review, there would be very steep losses (BlockFi sold over 400 BTC at ~$5k, so
  we would have to buy back BTC at current prices, incurring a loss of at least ~$1M, if not more) and those losses would very likely need to be added to your outstanding principal
  balance.

  Again, just want to maintain full transparency. I will revert back to you as soon as possible.



                                          Jake Gargiulo
                                           Head of Client Service
                                           jake@blockfi.com
                                           646.779.9688
  [Quoted text hidden]


  [Quoted text hidden]
  For more information, please see BlockFi's Terms of Service.




 George Gerro <georgejgerro@gmail.com>                                                                                                                         Mon, Apr 27, 2020 at 7:52 AM
 To: Jake Gargiulo <jake@blockfi.com>


https://mail.google.com/mail/u/1?ik=17b0673405&view=pt&search=…g-a%3Ar-3748960746082520334&simpl=msg-f%3A1665157234723730729                                                    Page 9 of 11
                Case 22-19361-MBK
Gmail - BlockFi Loan ID 41725c18 - Margin Liquidation                     Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                                                                                              Desc Main
                                                                                                                                                                                                                               5/1/20, 3)53 PM
                                                                                 Document    Page 48 of 92
 Cc: Flori Marquez <flori@blockfi.com>

   Hi Jake,

   This is the first time I have heard anything about increasing the loan amount. Please note the offer was affirmed on March 24th when the price of bitcoin was between $6400 and $6860
   per coin.

   I might be open to an increase in the loan, but only if the additional amount is non-recourse, excluded for purposes of calculating margin, and calculated using the difference between
   today's price and the March 24th price.

   - George
   [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                                                                                                     Mon, Apr 27, 2020 at 8:17 AM
 To: Jake Gargiulo <jake@blockfi.com>
 Cc: Flori Marquez <flori@blockfi.com>

   Hi Jake,

   I respectfully request Blockfi to honor the terms of the deal as agreed. The $1M in losses are my losses, not Blockfi's.

   The past month has been depressing for me. Now, I can be made whole again.

   - George
   [Quoted text hidden]



 Jake Gargiulo <jake@blockfi.com>                                                                                                                                                                                           Mon, Apr 27, 2020 at 12:25 PM
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Flori Marquez <flori@blockfi.com>

   Hi George,

   Thanks for your patience. I've spoken with our two founders and our Finance team to see if there is anything we can do, but unfortunately the offer expired in March after your Loan
   defaulted and cannot be extended.

   If you'd like to originate a new loan, we can certainly work with you on that and can offer a discount from standard rack terms.

   Please let me know if you have any questions.

   Best,
   Jake


                                             Jake Gargiulo
                                              Head of Client Service
                                              jake@blockfi.com
                                              646.779.9688

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           For more information, please see BlockFi's Terms of Service.


   [Quoted text hidden]



 George Gerro <georgejgerro@gmail.com>                                                                                                                                                                                    Mon, Apr 27, 2020 at 12:49 PM
 To: Jake Gargiulo <jake@blockfi.com>, Flori Marquez <flori@blockfi.com>

   Jake,

   With all due respect, that is a ridiculous argument. I recommend that you and the team take time to think it over. I would prefer a constructive, cooperative, mutually beneficial solution.

   Please do not force me to demand arbitration in this matter. As you calculated earlier today, my damages are in excess of $1 million.

   Respectfully, George
   [Quoted text hidden]



 Flori Marquez <flori@blockfi.com>                                                                                                                                                                                         Mon, Apr 27, 2020 at 1:01 PM


https://mail.google.com/mail/u/1?ik=17b0673405&view=pt&search…g-a%3Ar-3748960746082520334&simpl=msg-f%3A1665157234723730729                                                                                                                       Page 10 of 11
               Case 22-19361-MBK
Gmail - BlockFi Loan ID 41725c18 - Margin Liquidation  Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                                                       Desc Main
                                                                                                                                                                     5/1/20, 3)53 PM
                                                              Document    Page 49 of 92
 To: George Gerro <georgejgerro@gmail.com>
 Cc: Jake Gargiulo <jake@blockfi.com>, Zac Prince <zac@blockfi.com>

  Hi George,

  Unfortunately what Jake said was accurate. We had a window of time in which we were able to reverse trades, but as the original liquidations due to your loan's default happened over
  45 days ago, and we've concluded our accounting for the quarter, there's not much more we can do here. As you know, even the original offer to reverse the trade is outside of the
  limitations of your loan agreement and something that I do not think any other lender does.

  You're welcome to seek arbitration if you wish, but I would caution that as your loan defaulted, I'm not certain that it would lead to any other conclusion. What we can do is ensure you
  have favorable terms on any of our products going forward, although I understand that's not the same as having your position be reinstated. I am very sorry that we don't have another
  answer for you here. I've cc'd my cofounder, Zac, so that he's in the loop as well.

  Sincerely,

  Flori




                                  Flori Marquez
                                  Founder, SVP Operations
                                  flori@blockfi.com
                                  Twitter @founderflori
                                  C | 646.389.0709
                                  O | 646.779.9688
  [Quoted text hidden]
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           EXHIBIT C
              Case 22-19361-MBK                         Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45 Desc Main
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                                                                            on 03/23/2021 02:00      51R.ofCarter,
                                                                                                PM Sherri    92 Executive Officer/Clerk of Court, by H. Hankins,Deputy Clerk

                    1      HAYNES AND BOONE,LLP
                           David Clark/Bar No. 275204
                    2       david.clark@haynesboone.com
                           Andrea Levenson/Bar No. 323926
                    3       andrea.levenson@haynesboone.com
                           600 Anton Boulevard,Suite 700
                    4      Costa Mesa,CA 92626
                           Telephone:   (949) 202-3000
                    5      Facsimile:    (949) 202-3001
                    6      Attorneys for Defendants
                           BLOCKFI LENDING,LLC
                    7      BLOCKFI INC.
                    8
                                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                                   COUNTY OF LOS ANGELES, BURBANK COURTHOUSE
                  10
                  11
                              GEORGE GERRO, an individual,                                          )   CASE NO.: 20STCV31493
                  12                                                                                )
                                                     Plaintiff,                                         ASSIGNED FOR ALL PURPOSES TO:
                  13                                                                                )
                                          vs.                                                       )        Honorable William D. Stewart
                  14                                                                                )        Department A
                              BLOCKFI LENDING LLC, a Delaware                                       )
                  15          limited liability company; SCRATCH                                    )   DECLARATION OF CHARLES E.
                              SERVICES,LLC, a Delaware limited                                      )   WASHBURN, JR. RE: SUPPLEMENTAL
                  16          liability company; and DOES 1 through                                     REPLY BRIEF OF BRIEF
                              100,                                                                  )
                                                                                                    )   DEFENDANTS BLOCKFI LENDING,
                  17                                                                                    LLC AND BLOCKFI, INC. IN SUPPORT
                                                     Defendants.                                    )
                  18                                                                                )   OF FORUM NON CONVENIENS
                                                                                                        MOTION AND DEMURRER
                  19
                  20
                                                                                                            Hearing Date: April 8, 2021
                  21                                                                                        Time:          9:30 a.m.
                                                                                                            Department: A
                  22
                  23                                                                                        First Amended
                                                                                                            Complaint Filed: May 13, 2020
                  24
                  25
                  26
                  27
                  28



                                                                DECLARATION OF CHARLES E. WASHBURN JR.
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                     EXHIBIT “A”
Case 22-19361-MBK             Doc 1341 BlockFi
                                        FiledMail
                                               08/10/23       Entered
                                                  - FW: Conﬁdential Treatment08/10/23
                                                                              Re: BlockFi 15:59:45   Desc Main
                                     Document         Page 57 of 92




  From: Nourafshan, Alexander@DBO [mailto:alexander.nourafshan@dbo.ca.gov]
  Sent: Monday, August 20, 2018 2:15 PM
  To: Washburn, Charles
  Subject: RE: Confidential Treatment Re: BlockFi



  Hi Charles,



  I will call in a few minutes.



  Best,



  Alex




  Alexander M. Nourafshan

  Counsel, Legal Division

  Department of Business Oversight

  t (415) 263-8503 | e alexander.nourafshan@dbo.ca.gov




  From: Washburn, Charles <cwashburn@manatt.com>
  Sent: Monday, August 20, 2018 2:12 PM
  To: Nourafshan, Alexander@DBO <alexander.nourafshan@dbo.ca.gov>
  Subject: RE: Conﬁdential Treatment Re: BlockFi


  Thank you, Alex, and I am available any time this afternoon until 6:30 p.m., including now.



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP
Case 22-19361-MBK                     Doc 1341 BlockFi
                                                FiledMail
                                                       08/10/23       Entered
                                                          - FW: Conﬁdential Treatment08/10/23
                                                                                      Re: BlockFi 15:59:45                                     Desc Main
  11355 W. Olympic Blvd                      Document         Page 58 of 92
  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com

  manatt.com

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  them or saving them to disk. Thank you.




  From: Nourafshan, Alexander@DBO [mailto:alexander.nourafshan@dbo.ca.gov]
  Sent: Monday, August 20, 2018 1:20 PM
  To: Washburn, Charles
  Subject: RE: Confidential Treatment Re: BlockFi



  Hi Charles,



  Sincere apologies for my delayed reply. Are you available this afternoon or anytime tomorrow to chat for a few
  minutes? Please let me know your availability for a brief phone call. Thanks!



  Best,



  Alex



  Alexander M. Nourafshan

  Counsel, Legal Division

  Department of Business Oversight

  t (415) 263-8503 | e alexander.nourafshan@dbo.ca.gov




  From: Washburn, Charles <cwashburn@manatt.com>
  Sent: Thursday, August 16, 2018 2:24 PM
  To: Nourafshan, Alexander@DBO <alexander.nourafshan@dbo.ca.gov>
  Subject: RE: Conﬁdential Treatment Re: BlockFi


  Alex,
Case 22-19361-MBK         Doc 1341 BlockFi
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                                                   - FW: Conﬁdential Treatment08/10/23
                                                                               Re: BlockFi 15:59:45 Desc Main
                                     Document          Page    59    of  92
  I thought I would check in on the status of management review of the opinion request, and also my question
  regarding whether you could share your view on the issue. Thank you.



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com

  manatt.com

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  them or saving them to disk. Thank you.




  From: Washburn, Charles
  Sent: Thursday, July 26, 2018 5:05 PM
  To: 'Nourafshan, Alexander@DBO'
  Subject: RE: Confidential Treatment Re: BlockFi



  I appreciate your prompt review of the request, and I also appreciate your conveying to management the
  urgency here. Would you be able to share your view with me, which I would of course recognize is subject to
  management review and so is not binding on the Department?



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com
Case 22-19361-MBK                     Doc 1341 BlockFi
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  them or saving them to disk. Thank you.




  From: Nourafshan, Alexander@DBO [mailto:alexander.nourafshan@dbo.ca.gov]
  Sent: Thursday, July 26, 2018 4:35 PM
  To: Washburn, Charles
  Subject: Re: Confidential Treatment Re: BlockFi



  Hi Charles,



  I have completed my review and sent my analysis to management for approval. I am not sure when management review will
  be completed, but I will send a note along requesting expedited review. Hopefully that will help speed the process along,
  though I cannot provide any more speciﬁc timeline.



  Best,



  Alex



  Alexander M. Nourafshan
  Counsel, Financial Institutions Division
  Department of Business Oversight


  From: Washburn, Charles <cwashburn@manatt.com>
  Sent: Thursday, July 26, 2018 4:07:35 PM
  To: Nourafshan, Alexander@DBO
  Subject: RE: Conﬁdential Treatment Re: BlockFi


  I appreciate the quick response, Alex. Again, due to the urgency of the request from the client’s perspective,
  can you give me a feel for when the review will be completed, and whether there is anything that can be done
  to expedite the review?



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064
Case 22-19361-MBK            Doc 1341 BlockFi
                                       FiledMail
                                              08/10/23       Entered
                                                 - FW: Conﬁdential Treatment08/10/23
                                                                             Re: BlockFi 15:59:45                                              Desc Main
  D (310) 312-4372 F (310) 914-5761 Document         Page    61    of  92


  cwashburn@manatt.com

  manatt.com

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  them or saving them to disk. Thank you.




  From: Nourafshan, Alexander@DBO [mailto:alexander.nourafshan@dbo.ca.gov]
  Sent: Thursday, July 26, 2018 4:07 PM
  To: Washburn, Charles
  Subject: Re: Confidential Treatment Re: BlockFi



  Dear Charles,

  Thank you for your email. We are still reviewing your request. I will let you know if we have any questions or can provide a
  more detailed update. Thank you for your patience.

  Best,




  Alex




  Alexander M. Nourafshan
  Counsel, Financial Institutions Division
  Department of Business Oversight


  From: Washburn, Charles <cwashburn@manatt.com>
  Sent: Thursday, July 26, 2018 3:42:53 PM
  To: Nourafshan, Alexander@DBO
  Subject: FW: Conﬁdential Treatment Re: BlockFi


  Alex,



  Sorry to bother you (and I got a bounce back to my message on Tuesday), but again I want to check in on the
  status of this request. As noted below, the client has been placed at a severe disadvantage due to a competitor
  with a similar business that apparently is being allowed to operate under the CFL by the Department. If the
  Department sees a distinction between the two operations, please let me know as soon as possible.



  Chuck
Case 22-19361-MBK                     Doc 1341 BlockFi
                                                FiledMail
                                                       08/10/23       Entered
                                                          - FW: Conﬁdential Treatment08/10/23
                                                                                      Re: BlockFi 15:59:45                                     Desc Main
  Charles Washburn                           Document         Page 62 of 92
  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com

  manatt.com

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  have received this transmission in error, please immediately notify us by reply email and destroy the original transmission and its attachments without reading
  them or saving them to disk. Thank you.




  From: Washburn, Charles
  Sent: Tuesday, July 24, 2018 10:57 AM
  To: 'Nourafshan, Alexander@DBO'
  Subject: RE: Confidential Treatment Re: BlockFi
  Importance: High



  CONFIDENTIAL



  Alex,



  I hope this message finds you well.



  I am following up to check on the status of our request for an interpretive opinion, a copy of which request I have
  attached for ease of reference. As you know, it was received by the Department on May 15.



  As discussed in more detail in the opinion request, the position taken by the Department to-date that a licensee
  under the California Financing Law (“CFL”) cannot hold collateral I respectfully believe is based on a clear
  misreading of vestigial language in Section 22009 of the CFL defining the term “finance lender,” which hopefully
  you see as well.



  As also discussed in the request, this incorrect Department position is causing substantial harm to our client
  BlockFi Lending LLC. In particular and as noted in the request for expedited treatment, I understand from the
  client that a competitor, Unchained Capital, Inc., was granted a CFL license by the Department (60DBO-78867)
  and based on the Department’s web site that license is still active. The client further advises that Unchained
  Capital is still doing a lending business in California and is still holding crypto currency as collateral in connection
Case 22-19361-MBK          Doc 1341 BlockFi
                                          FiledMail
                                                08/10/23        Entered
                                                    - FW: Conﬁdential Treatment08/10/23
                                                                                Re: BlockFi 15:59:45 Desc Main
                                     Document           Page    63    of  92
  with those loans, while at the same time BlockFi Lending is unable to lend in California on similar terms with
  respect to holding collateral based on this Department position.



  Thank you in advance for your assistance, and I would again be happy to discuss any questions you may have
  regarding the analysis.



  Best regards,



  Chuck



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com

  manatt.com

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  them or saving them to disk. Thank you.




  From: Nourafshan, Alexander@DBO [mailto:alexander.nourafshan@dbo.ca.gov]
  Sent: Thursday, June 28, 2018 1:44 PM
  To: Washburn, Charles
  Subject: RE: Confidential Treatment Re: BlockFi



  Interpretive opinion requests generally take at least 60-90 days. I will do my best to provide any updates that I
  can.



  Alexander M. Nourafshan

  Counsel, Legal Division

  Department of Business Oversight

  t (415) 263-8503 | e alexander.nourafshan@dbo.ca.gov
Case 22-19361-MBK                     Doc 1341 BlockFi
                                                FiledMail
                                                       08/10/23       Entered
                                                          - FW: Conﬁdential Treatment08/10/23
                                                                                      Re: BlockFi 15:59:45                                     Desc Main
                                             Document         Page 64 of 92


  From: Washburn, Charles [mailto:cwashburn@manatt.com]
  Sent: Thursday, June 28, 2018 11:47 AM
  To: Nourafshan, Alexander@DBO <alexander.nourafshan@dbo.ca.gov>
  Subject: RE: Confidential Treatment Re: BlockFi



  Thank you, Alex. Is it possible to give me an idea when the initial review may be completed?



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com

  manatt.com

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  them or saving them to disk. Thank you.




  From: Nourafshan, Alexander@DBO [mailto:alexander.nourafshan@dbo.ca.gov]
  Sent: Thursday, June 28, 2018 11:24 AM
  To: Washburn, Charles
  Subject: RE: Confidential Treatment Re: BlockFi



  Hi Mr. Washburn,



  Thank you for your email. Your request is currently under review. I will let you know if we have any further
  questions or need additional information.



  Best,



  Alex
Case 22-19361-MBK                     Doc 1341 BlockFi
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                                                       08/10/23       Entered
                                                          - FW: Conﬁdential Treatment08/10/23
                                                                                      Re: BlockFi 15:59:45                                     Desc Main
                                             Document         Page 65 of 92
  Alexander M. Nourafshan

  Counsel, Legal Division

  Department of Business Oversight

  t (415) 263-8503 | e alexander.nourafshan@dbo.ca.gov




  From: Washburn, Charles [mailto:cwashburn@manatt.com]
  Sent: Thursday, June 28, 2018 11:08 AM
  To: Nourafshan, Alexander@DBO <alexander.nourafshan@dbo.ca.gov>
  Subject: RE: Confidential Treatment Re: BlockFi



  Alex,



  I thought I would take the liberty of checking on the status of our request for an interpretive opinion, and reiterate
  my offer to discuss any questions you may have regarding our analysis. Please let me know, and thank you.



  Best regards,



  Chuck



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com

  manatt.com

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Case 22-19361-MBK                     Doc 1341 BlockFi
                                                FiledMail
                                                       08/10/23       Entered
                                                          - FW: Conﬁdential Treatment08/10/23
                                                                                      Re: BlockFi 15:59:45                                     Desc Main
                                             Document         Page 66 of 92
  From: Washburn, Charles
  Sent: Friday, June 15, 2018 3:25 PM
  To: 'Nourafshan, Alexander@DBO'
  Subject: RE: Confidential Treatment Re: BlockFi



  Thank you very much, Alex. (I have yet to receive the letter sent by USPS, so I appreciate the PDF.) Also, I
  would be happy to discuss with you the request for an interpretive opinion, including any questions you may have
  regarding the legal analysis. Again, thank you, and have a good weekend.



  Charles Washburn

  Partner

  _______________________



  Manatt, Phelps & Phillips, LLP

  11355 W. Olympic Blvd

  Los Angeles, CA 90064

  D (310) 312-4372 F (310) 914-5761




  cwashburn@manatt.com

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  them or saving them to disk. Thank you.




  From: Nourafshan, Alexander@DBO [mailto:alexander.nourafshan@dbo.ca.gov]
  Sent: Friday, June 15, 2018 3:20 PM
  To: Washburn, Charles
  Subject: Confidential Treatment Re: BlockFi



  Dear Mr. Washburn,



  A letter granting confidential treatment of your request regarding BlockFi Lending LLC was sent in the mail on
  Monday, June 11, 2018. Please find a copy of this letter attached. I will let you know if any additional information
  is needed in connection with this request.



  Best regards,



  Alex
Case 22-19361-MBK           Doc 1341 BlockFi
                                      FiledMail
                                             08/10/23       Entered
                                                - FW: Conﬁdential Treatment08/10/23
                                                                            Re: BlockFi 15:59:45   Desc Main
                                   Document         Page 67 of 92


  Alexander M. Nourafshan

  Counsel, Legal Division

  Department of Business Oversight

  t (415) 263-8503 | e alexander.nourafshan@dbo.ca.gov



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  destroy all copies of the original message.
Case 22-19361-MBK       Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                 Desc Main
                               Document    Page 68 of 92

   1                                         PROOF OF SERVICE
   2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3           I am employed in the County of Orange, State of California. I am over the age of 18 and
        am not a party to the within action; my business address is 600 Anton Boulevard, Suite 700, Costa
   4    Mesa, California 92626.
   5            On March 23, 2021, I served a true and correct copy of the document entitled:
        DECLARATION OF CHARLES E. WASHBURN, JR. RE SUPPLEMENTAL BRIEF RE
   6    MOTION TO DISMISS, OR IN THE ALTERNATIVE TO STAY, THE ACTION ON THE
        GROUND OF FORUM NON CONVENIENS on the interested parties in this action by placing
   7    true copies thereof, enclosed in sealed envelopes, as indicated below and addressed as follows:
   8
         John M. Gerro, Esq.                            Scott J. Hyman, Esq.
   9     George J. Gerro, Esq.                          Katherine Figueroa, Esq.
         Law Offices of Gerro & Gerro                   Severson & Werson
   10    530 S. Glenoaks Boulevard, Suite 200           The Atrium, 19100 Von Karman Avenue
         Burbank, CA 91502                              Suite 700
   11    Telephone: (818) 840-0000                      Irvine, CA 92612
         E-Mail:        john@gerrolaw.com               Telephone: (949) 442-7110
   12                   george@gerrolaw.com             E-Mail:        sjh@severson.com
         [Attorneys for Plaintiff]                                     kf@severson.com
   13                                                   [Attorneys for Defendant Scratch Services, LLC]
   14
                        (By U.S. Mail) I am readily familiar with my employer’s business practice for
   15   collection and processing of correspondence for mailing with the United States Postal Service. I
        am aware that on motion of the party served, service is presumed invalid if postal cancellation date
   16   or postage meter is more than one day after date of deposit for mailing in affidavit. I caused such
        envelope, with postage thereon fully prepaid, to be placed in the United States Mail at Costa Mesa,
   17   California as indicated above.
   18                   (By Electronic Delivery) Pursuant to C.C.P. § 1010.6, I served true and correct
        copies of the foregoing document by electronic delivery to the interested parties in this action as
   19   indicated above.
   20                  (By Express Delivery) I served a true and correct copy, enclosed in sealed Fedex
        envelopes, for collection and for delivery marked for next day delivery in the ordinary course of
   21   business, addressed to the office of the addressees as indicated above.
   22          I declare under penalty of perjury under the laws of the State of California that the
        foregoing is true and correct. Executed on March 23, 2021, at Costa Mesa, California.
   23

   24

   25
                                                      Kelley L. Saunders
   26

   27

   28
Case 22-19361-MBK   Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45   Desc Main
                           Document    Page 69 of 92




           EXHIBIT D
               Case 22-19361-MBK                        Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45 Desc Main
                                                                       Document
Electronically FILED by Superior Court of California, County of Los Angeles                   Page
                                                                            on 03/23/2021 02:00       70R. of
                                                                                                PM Sherri     92Executive Officer/Clerk of Court, by H. Hankins,Deputy Clerk
                                                                                                           Carter,


                     1      HAYNES AND BOONE,LLP
                            David Clark/Bar No. 275204
                     2       david.clark@haynesboone.com
                            Andrea Levenson/Bar No. 323926
                     3       andrea.levenson@haynesboone.com
                            600 Anton Boulevard,Suite 700
                     4      Costa Mesa,CA 92626
                            Telephone:   (949) 202-3000
                     5      Facsimile:    (949) 202-3001
                     6      Attorneys for Defendants
                            BLOCKFI LENDING LLC
                     7      BLOCKFI INC.
                     8
                                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     9
                                                    COUNTY OF LOS ANGELES, BURBANK COURTHOUSE
                   10
                   11
                               GEORGE GERRO, an individual,                                          )   CASE NO.: 20STCV31493
                   12                                                                                )
                                                      Plaintiff,                                         ASSIGNED FOR ALL PURPOSES TO:
                   13                                                                                )
                                           vs.                                                       )        Honorable William D. Stewart
                   14                                                                                )        Department A
                               BLOCKFI LENDING LLC, a Delaware                                       )
                   15          limited liability company; SCRATCH                                    )   DECLARATION OF JAN LYNN
                               SERVICES,LLC, a Delaware limited                                          OWEN RE: SUPPLEMENTAL
                               liability company; and DOES 1 through                                 )
                   16                                                                                    REPLY BRIEF OF BRIEF
                               100,                                                                  )
                   17                                                                                )   DEFENDANTS BLOCKFI LENDING,
                                                      Defendants.                                    )   LLC AND BLOCKFI, INC. IN SUPPORT
                   18                                                                                )   OF FORUM NON CONVENIENS
                                                                                                         MOTION AND DEMURRER
                   19
                   20
                                                                                                             Hearing Date: April 8, 2021
                   21                                                                                        Time:          9:30 a.m.
                                                                                                             Department: A
                   22
                   23                                                                                        First Amended
                                                                                                             Complaint Filed: May 13, 2020
                   24
                   25
                   26
                   27
                   28



                                                                 DECLARATION OF CHARLES E. WASHBURN JR.
Case 22-19361-MBK   Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45   Desc Main
                           Document    Page 71 of 92
Case 22-19361-MBK   Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45   Desc Main
                           Document    Page 72 of 92
Case 22-19361-MBK   Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45   Desc Main
                           Document    Page 73 of 92
Case 22-19361-MBK       Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45                 Desc Main
                               Document    Page 74 of 92

   1                                         PROOF OF SERVICE
   2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3           I am employed in the County of Orange, State of California. I am over the age of 18 and
        am not a party to the within action; my business address is 600 Anton Boulevard, Suite 700, Costa
   4    Mesa, California 92626.
   5            On March 23, 2021, I served a true and correct copy of the document
        entitled: DECLARATION OF JAN LYNN OWEN RE SUPPLEMENTAL BRIEF RE
   6    MOTION TO DISMISS, OR IN THE ALTERNATIVE TO STAY, THE ACTION ON THE
        GROUND OF FORUM NON CONVENIENS on the interested parties in this action by
   7    placing true copies thereof, enclosed in sealed envelopes, as indicated below and addressed as
        follows:
   8
         John M. Gerro, Esq.                            Scott J. Hyman, Esq.
   9     George J. Gerro, Esq.                          Katherine Figueroa, Esq.
         Law Offices of Gerro & Gerro                   Severson & Werson
   10    530 S. Glenoaks Boulevard, Suite 200           The Atrium, 19100 Von Karman Avenue
         Burbank, CA 91502                              Suite 700
   11    Telephone: (818) 840-0000                      Irvine, CA 92612
         E-Mail:        john@gerrolaw.com               Telephone: (949) 442-7110
   12                   george@gerrolaw.com             E-Mail:        sjh@severson.com
         [Attorneys for Plaintiff]                                     kf@severson.com
   13                                                   [Attorneys for Defendant Scratch Services, LLC]
   14
                        (By U.S. Mail) I am readily familiar with my employer’s business practice for
   15   collection and processing of correspondence for mailing with the United States Postal Service. I
        am aware that on motion of the party served, service is presumed invalid if postal cancellation date
   16   or postage meter is more than one day after date of deposit for mailing in affidavit. I caused such
        envelope, with postage thereon fully prepaid, to be placed in the United States Mail at Costa Mesa,
   17   California as indicated above.
   18                   (By Electronic Delivery) Pursuant to C.C.P. § 1010.6, I served true and correct
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   20                  (By Express Delivery) I served a true and correct copy, enclosed in sealed Fedex
        envelopes, for collection and for delivery marked for next day delivery in the ordinary course of
   21   business, addressed to the office of the addressees as indicated above.
   22          I declare under penalty of perjury under the laws of the State of California that the
        foregoing is true and correct. Executed on March 23, 2021, at Costa Mesa, California.
   23

   24

   25
                                                      Kelley L. Saunders
   26

   27

   28
Case 22-19361-MBK   Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45   Desc Main
                           Document    Page 75 of 92




           EXHIBIT E
                 Case 22-19361-MBK                         Doc 1341 Filed 08/10/23 Entered 08/10/23 15:59:45 Desc Main
                                                                         Document
Electronically FILED by Superior Court of California, County of Los Angeles                     Page
                                                                            on 11/16/2021 12:34 PM Sherri 76  of 92
                                                                                                          R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk



                         1      HAYNES AND BOONE, LLP
                                David Clark/Bar No. 275204
                         2       david.clark@haynesboone.com
                                Marco A. Pulido/Bar No. 308074
                         3       marco.pulido@haynesboone.com
                                600 Anton Boulevard, Suite 700
                         4      Costa Mesa, CA 92626
                                Telephone:    (949) 202-3000
                         5      Facsimile:    (949) 202-3001

                         6      Attorneys for Real Parties in Interest
                                BLOCKFI LENDING LLC; BLOCKFI
                         7      TRADING LLC and BLOCKFI INC.

                         8
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         9
                                                   COUNTY OF LOS ANGELES, STANLEY MOSK COURTHOUSE
                       10

                       11
                                    GEORGE GERRO,                              )                              CASE NO.: 21STCP02023
                       12                                                      )
                                                     Petitioner,               )                              ASSIGNED FOR ALL PURPOSES TO:
                       13                                                      )                                   Honorable Mary H. Strobel
                                            vs.
                       14                                                      )                                   Department 82
                                    Cristopher S. Shultz, as Commissioner of   )
                       15           Financial Protection and Innovation of the )                              NOTICE OF RULING ON DEMURRERS
                                    State of California,                       )                              OF RESPONDENT CHRISTOPHER S.
                       16                                                      )                              SHULTZ AND REAL PARTIES IN
                                                     Respondent.               )                              INTEREST TO PETITIONER’S FIRST
                       17           ____________________________________
                                                                               )                              AMENDED PETITION FOR WRIT
                       18           BLOCKFI LENDING LLC, a Delaware            )
                                    limited liability company; BLOCKFI         )                              Hearing Date:                     November 16, 2021
                       19           TRADING LLC, a Delaware Limited            )                              Time:                             9:30 a.m.
                                    Liability Company; and BLOCKFI, INC., a )                                 Department:                       82
                       20           Delaware Corporation                       )
                                                     Real Parties in Interest. )                              Amended Writ Petition Filed August 6, 2021
                       21
                                                                               )
                       22                                                      )

                       23

                       24                   TO PETITIONER GEORGE GERRO AND TO HIS ATTORNEYS OF RECORD
                       25       HEREIN:
                       26                   PLEASE TAKE NOTICE that, on November 16, 2021, the hearing on the demurrers to
                       27       Petitioner George Gerro’s (“Gerro”) First Amended Petition for Writ (the “Petition”) of
                       28       Respondent Christopher S. Shultz (“Shultz”) and Real Parties in Interest BlockFi Lending LLC,
                                                                                                          1
                                   NOTICE OF RULING ON DEMURRERS OF RESPONDENT CHRISTOPHER S. SHULTZ AND REAL
                                        PARTIES IN INTEREST TO PETITIONER’S FIRST AMENDED PETITION FOR WRIT
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   1   BlockFi trading LLC, and BlockFi Inc. (collectively, “BlockFi”) came on regularly for hearing
   2   before the Honorable Mary H. Strobel in Department 82 of the above-entitled Court. Mark D.
   3   Erickson and David B. Clark appeared via LA Connect for BlockFi, Leanna C. Costantini
   4   appeared via LA Connect for Shultz, and John Gerro and George Gerro appeared via LA
   5   Connect for Gerro.
   6          Following the oral argument of counsel, the Court adopted its Tentative Ruling as its
   7   Final Ruling, sustaining the demurrers and granting Petitioner 20 days’ leave to amend from the
   8   date of this Notice. A true and correct copy of the Court’s Tentative Ruling is attached hereto as
   9   Exhibit “A”.
  10

  11   DATED: November 16, 2021                     HAYNES AND BOONE, LLP
  12
                                                    By:
  13                                                        David Clark
                                                            Attorneys for Real Parties in Interest
  14                                                        BLOCKFI LENDING LLC; BLOCKFI
                                                            TRADING LLC and BLOCKFI INC.
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        NOTICE OF RULING ON DEMURRERS OF RESPONDENT CHRISTOPHER S. SHULTZ AND REAL
             PARTIES IN INTEREST TO PETITIONER’S FIRST AMENDED PETITION FOR WRIT
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         Tentative Rulings
         DEPARTMENT 82 LAW AND MOTION RULINGS
         Hon. Mary H. Strobel

         The clerk for Department 82 may be reached at (213) 893-0530.
         Case Number: 21STCP02023                                     Hearing Date: November 16, 2021                                           Dept: 82

          George J. Gerro,                                              Judge Mary Strobel


          v.                                                            Hearing: November 16, 2021


          Christopher S. Shultz, as Commissioner of

          Financial Protection and Innovation of the State

          of California,




          21STCP02023                                                   Tentative Decision on Demurrers to Petition for

                                                                        Writ of Mandate: Sustained




                  Christopher S. Shultz, as Commissioner of the California Department of Financial Protection and Innovation (“Respondent” or

         “Commissioner”) and Real Parties in Interest BlockFi Lending LLC, BlockFi Trading LLC, and BlockFi, Inc. (collectively, “Real Parties” or

         “BlockFi”) generally demur to the petition for writ of mandate filed by Petitioner George J. Gerro (“Petitioner”) for failure to state a

         cause of action.




         Judicial Notice




         Real Parties’ RJN Exhibits A-E – Granted.

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         Petitioner’s RJN Exhibits A-B – Granted.




         Background




                 For purposes of demurrer, the following factual allegations from the petition are taken as true. (See Stonehouse Homes LLC v.

         City of Sierra Madre (2008) 167 Cal. App. 4th 531, 538.)




                 Real Party BlockFi Lending, LLC (“BlockFi”) “is a California Finance Lender and Broker (license no. 60DBO-81955, issued on Aug.

         16, 2018) making loans, secured by its possession of Bitcoin, pursuant to the Commissioner’s license.” (First Amended Petition (“FAP”)

         ¶ 3.)




                 Petitioner “is a California resident who borrowed money from BlockFi for non-commercial purposes.” (Id. ¶ 141.) BlockFi held

         Bitcoin purchased by Petitioner as collateral. (See Id. ¶¶ 65-73 and Exh. 21.)




                 “Bitcoin is personal property that is capable of actual, constructive, or exclusive possession. On the Bitcoin Network, no entity

         is able to unilaterally reverse a Bitcoin transaction. If the private key (i.e. password) to Bitcoin is lost, copied, or stolen, then the

         corresponding Bitcoin may be permanently lost, transferred, or stolen…. Online Bitcoin markets never close. Bitcoin has a very

         volatile market price. There is evidence that Bitcoin prices are manipulated. Unlike the stock market, Bitcoin markets do not

         temporarily pause to temper sudden declines. Bitcoin’s price is affected by highly leveraged (up to 125x leverage) Bitcoin-derivative

         markets. The majority of Bitcoin-derivative trading volumes occur on websites, without domestic headquarters, that are subject to

         little or no oversight by United States regulators. Due to the leverage and nascence of Bitcoin markets, the price of Bitcoin may

         significantly decline in the short-term as some Bitcoin traders are forced to sell during a Bitcoin price crash.” (Id. ¶¶ 7-17.)




                 Respondent “is responsible for regulating and issuing licenses to ‘finance lenders,’ as defined in Financial Code section 22009.”

         (Id. ¶ 75.) In February 2018, BlockFi applied to the Department of Financial Protection and Innovation (“Department”) for a Finance

         Lender License. (Id. ¶ 78.) On August 16, 2018, Department licensed BlockFi as a finance lender pursuant to section 22009. (Id. ¶

         128.)




                 “BlockFi secures its loans to Consumers by exercising dominion and control over the Consumers’ Bitcoin as collateral securing

         BlockFi’s loan (Collateral).” (Id. ¶ 21; see generally Id. ¶¶ 19-73.)




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                “On March 12, 2020, the price of Bitcoin declined by more than Fifty Percent (50%) in one day. On or about that day, BlockFi

         claims that it liquidated about Nine-Tenths (9/10th’s) of Petitioner’s Collateral. Petitioner is informed and believes, and on that basis

         alleges that, BlockFi liquidated many Consumers on or about March 12, 2020 in a mass foreclosure event.” (Id. ¶¶ 65-67.)




                In this writ action, Petitioner seeks inter alia a writ of ordinary mandate directing Respondent to revoke or suspend the

         Finance Lender and Broker License No. 60DBO-81955 (License) issued on August 16, 2018, to BlockFi. Petitioner alleges that

         Department’s issuance of the license violated the Financial Code for reasons set forth at length in the petition and discussed below.

         (See Id. ¶¶ 74-140.)




         Procedural History




                On June 25, 2021, Petitioner filed the original petition for writ of mandate. On August 6, 2021, Petitioner filed the first

         amended petition (“FAP”).




                On September 8 and 9, 2021, Respondent and Real Parties filed their demurrers and meet and confer declarations. The court

         has received Petitioner’s opposition to the demurrers, Respondent’s reply, and Real Parties’ reply.




         Analysis




                A demurrer tests the sufficiency of a pleading, and the grounds for a demurrer must appear on the face of the pleading or

         from judicially noticeable matters. The demurrer admits all material facts properly pleaded. (CCP 430.30(a); Blank v. Kirwan (1985) 39

         Cal.3d 311, 318.) “A demurrer tests the pleadings alone and not the evidence or other extrinsic matters.” (Hahn v. Mirda (2007) 147

         Cal.App.4th 740, 747.) The allegations in the petition must be liberally construed in favor of Petitioner on demurrer. (Mobil Oil Corp.

         v Exxon Corp. (1986) 177 Cal.App.3d 942, 947.) A demurrer accepts as true “all material facts properly pleaded and matters subject to

         judicial notice, but not deductions, contentions, or conclusions of law or fact.” (Stonehouse Homes LLC v. City of Sierra Madre (2008)

         167 Cal. App. 4th 531, 538.)




         Judicial Review of Respondent’s Official Acts Under CCP Section 1085




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                 As Respondent acknowledges, “the California Financial Code provides limited judicial review” of his official acts. (Resp. Dem.

         14.) Financial Code section 22718 states: “Every order, decision, license, or other official act of the commissioner is subject to judicial

         review in accordance with law.”[1]




                 Petitioner seeks judicial review of Respondent’s issuance of a license in this action for ordinary mandate pursuant to CCP

         section 1085. There are two essential requirements to the issuance of an ordinary writ of mandate: (1) a clear, present and

         ministerial duty on the part of the respondent, and (2) a clear, present and beneficial right on the part of the petitioner to the

         performance of that duty. (California Assn. for Health Services at Home v. Department of Health Services (2007) 148 Cal.App.4th 696,

         704.)




                 Respondent contends that the petition “should be dismissed without leave to amend because it seeks to control the

         Commissioner’s discretion rather than enforce a clear, ministerial duty.” (Resp. Dem. 12.) According to Respondent, the issuance of a

         license to BlockFi was “wholly discretionary” and Petitioner has not alleged facts showing an unreasonable or arbitrary exercise of

         such discretion. (Id. at 12-13.) Real Parties make a similar argument. (RP Dem. 9-11.)




                 “Normally, mandate will not lie to control a public agency's discretion, that is to say, force the exercise of discretion in a

         particular manner. However, it will lie to correct abuses of discretion. In determining whether a public agency has abused its

         discretion, the court may not substitute its judgment for that of the agency, and if reasonable minds may disagree as to the wisdom

         of the agency's action, its determination must be upheld. A court must ask whether the public agency's action was arbitrary,

         capricious, or entirely lacking in evidentiary support, or whether the agency failed to follow the procedure and give the notices the law

         requires.” (County of Los Angeles v. City of Los Angeles (2013) 214 Cal.App.4th 643, 654.)




                 “‘On questions of law arising in mandate proceedings, [the court] exercise[s] independent judgment.’ …. Interpretation of a

         statute or regulation is a question of law.” (Christensen v. Lightbourne (2017) 15 Cal.App.5th 1239, 1251.)




                 As discussed further below, Petitioner contends that Respondent’s issuance of a license to BlockFi was illegal and void because

         BlockFi does not meet the definition of “finance lender” under section 22009. If Respondent issued a license in a manner that violated

         the law, as Petitioner contends, such official act could be subject to writ of ordinary mandate as an illegal and void act. “An action in

         ordinary mandamus is proper where … the claim is that an agency has failed to act as required by law.” (California Assn. for Health

         Services at Home v. Department of Health Services (2007) 148 Cal.App.4th 696, 705.) In addition, if Respondent issued a license in a

         manner that violated the law, such official act could be an arbitrary and capricious abuse of discretion. In either case, judicial review

         could be available under CCP section 1085.




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                Respondent and Real Parties cite Financial Code sections 22109 and 22714, which set forth Respondent’s general authority to

         issue licenses and also to suspend or revoke licenses. However, those statutes do not constrain a court in equity from issuing a writ

         of mandate should it be shown that Respondent issued a license that is illegal and void.[2] (See Board of Trustees of Leland Stanford

         Junior University v. State Bd. of Equalization (1934) 1 Cal.2d 784, 787 [Board of Equalization had legal duty to set aside liquor license

         that was prohibited by law and therefore “illegal and void”; court issued writ].)




                The court does not sustain the demurers on the theory that the FAP improperly seeks to control Respondent’s discretion.

         However, judicial review under section 1085 is limited. To allege a claim for writ of ordinary mandate, Petitioner must allege standing

         and also a ministerial duty owed by Respondent or an abuse of discretion by Respondent. The court analyzes those issues below.




         Standing




                Respondent and Real Parties contend that Petitioner lacks standing to bring this writ action against BlockFi’s license because

         “Petitioner’s purported harm—the loss of his Bitcoin—will not be remedied even if BlockFi’s finance lending license is suspended or

         revoked.” (Resp. Dem. 11.)




                 To have standing to seek a writ of mandate, a party must be “beneficially interested.” (CCP § 1086.) “A petitioner is beneficially

         interested if he or she has some special interest to be served or some particular right to be preserved or protected over and above

         the interest held in common with the public at large.” (Rialto Citizens for Responsible Growth v. City of Rialto (2012) 208 Cal. App. 4th

         899, 913; accord Carsten v. Psychology Examining Com. (1980) 27 Cal.3d 793, 796-97.) “This standard … is equivalent to the federal

         ‘injury in fact’ test, which requires a party to prove by a preponderance of the evidence that it has suffered ‘an invasion of a legally

         protected interest that is '(a) concrete and particularized, and (b) actual or imminent, not conjectural or hypothetical.'’” (Associated

         Builders and Contractors, Inc. v. San Francisco (1999) 21 Cal.4th 352, 361-362.) “One who is in fact adversely affected by

         governmental action should have standing to challenge that action if it is judicially reviewable.” (Save the Plastic Bag Coalition v. City

         of Manhattan Beach (2011) 52 Cal.4th 155, 165.)




                As relevant to standing, the FAP alleges that Petitioner “is a California resident who borrowed money from BlockFi for non-

         commercial purposes.” (Pet. ¶ 141.) BlockFi held Bitcoin purchased by Petitioner as collateral. (See Id. ¶¶ 65-73 and Exh. 21.)

         “BlockFi’s Contract states that a failure to maintain a loan-to-value ratio of Seventy Percent (70%) for more than Seventy-Two (72)

         hours subjects the California borrower to default under the terms of BlockFi’s Contract…. After an alleged default, BlockFi may

         immediately foreclose upon the Collateral…. Furthermore, BlockFi’s Contract states that a failure to maintain a loan-to-value ratio of

         Eighty Percent (80%) gives BlockFi the right to immediately sell, liquidate, or foreclose upon enough collateral to restore the loan-to-

         value ratio to Seventy Percent (70%).” (Id. ¶¶ 58-60.)


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                 “On March 12, 2020, the price of Bitcoin declined by more than Fifty Percent (50%) in one day. On or about that day, BlockFi

         claims that it liquidated about Nine-Tenths (9/10th’s) of Petitioner’s Collateral.” (Id. ¶¶ 65-67.) “After purportedly foreclosing upon

         Petitioner, BlockFi offered to ‘reverse’ the foreclosure sales, but only if Petitioner would agree to send more money or Bitcoin to

         BlockFi.” (Id. ¶ 71.)




                 In the prayer, Petitioner seeks the following writ relief:




                 1. That a Peremptory Writ of Mandate be issued commanding Respondent to revoke, cancel, or annul BlockFi’s Finance Lender

                 and Broker License No. 60DBO 81955 (License);


                 2. That a Peremptory Writ of Mandate be issued commanding Respondent to suspend said License until BlockFi no longer

                 retains any use and possession of collateral securing its loans to California borrowers. (FAP p. 17.)




                 Petitioner does not allege how he would benefit if the court issued the requested writs in paragraphs 1 and 2 of the Prayer, or

         how he would be harmed if the court declined to issue such writs. Petitioner does not allege factually, or cite legal authority, that the

         liquidation and foreclosure of his Bitcoin by BlockFi would be reversed if Respondent suspended or revoked BlockFi’s license.

         Petitioner does not allege that he presently has a loan with BlockFi or that BlockFi presently holds his Bitcoin or other assets as

         collateral. “A writ of mandate is granted 'only where necessary to protect a substantial right and only when it is shown that some

         substantial damage will be suffered by the petitioner if said writ is denied.' ” (Schmier v. Supreme Court (2000) 78 Cal.App.4th 703,

         707-708.)




                 In paragraph 3 of the Prayer, Petitioner also seeks a writ “commanding Respondent to suspend said License until BlockFi

         unwinds all of its prior forfeitures of California Collateral and restores possession to Consumers.” (FAP p. 17.) If granted, such writ

         could benefit Petitioner, as he alleges BlockFi foreclosed on his Bitcoin. However, Petitioner does not cite any statute or other law

         under which the court would have authority to issue a writ compelling Respondent to cause the suspension of a license until the

         licensed party unwinds certain transactions or returns collateral. The gravamen of the FAP is that Respondent invalidly issued

         BlockFi’s license and has a mandatory duty to revoke or suspend the license. Inclusion of Paragraph 3 of the Prayer is not sufficient to

         confer standing on Petitioner for that writ claim. Moreover, to the extent the petition seeks money damages or return of Bitcoin

         liquidated or foreclosed by BlockFi pursuant to the parties’ contract, Petitioner has an adequate remedy at law, as discussed infra.




                 In opposition, Petitioner contends that he has standing because “BlockFi acted under authority of its invalid License to deprive

         Gerro of his bitcoin” and “BlockFi continues to deprive Gerro of his personal property under color of authority of the License.” (Oppo.

         10.) Petitioner does not cite allegations of the petition that support these statements. The court’s ruling on demurrer is limited to the

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         four corners of the pleading. As discussed, Petitioner does not allege that suspension or revocation of BlockFi’s license would result

         in a return of his Bitcoin. Nor does Petitioner allege that BlockFi presently holds any of his assets as collateral, such that suspension

         of BlockFi’s license might directly impact Petitioner as a customer. Accordingly, Petitioner has not alleged a beneficial interest in the

         requested writ.




         Public-Interest Exception to Standing Requirement; and Petitioner’s Contentions that Respondent Violated Section 22009 By Issuing a

         License to BlockFi




                 Petitioner contends that he has alleged public-interest standing because “Respondent continues to violate its public duty to

         issue licenses in accordance with law” and BlockFi’s “current borrowers” are being harmed, but lack sufficient incentive to challenge

         BlockFi’s license. (Oppo. 11-12.)




                 “A petitioner who is not beneficially interested in a writ may nevertheless have ‘citizen standing’ or ‘public interest standing’ to

         bring the writ petition under the ‘public interest exception’ to the beneficial interest requirement. [Citations.] The public interest

         exception ‘applies where the question is one of public right and the object of the action is to enforce a public duty—in which case it is

         sufficient that the plaintiff be interested as a citizen in having the laws executed and the public duty enforced.’” (Rialto Citizens for

         Responsible Growth v. City of Rialto (2012) 208 Cal. App. 4th 899, 913-914.) In a citizen standing analysis, “[t]he courts balance the

         applicant’s need for relief (i.e., his beneficial interest) against the public need for enforcement of the official duty. When the duty is

         sharp and the public need weighty, the courts will grant a mandamus at the behest of an applicant who shows no greater personal

         interest than that of a citizen who wants the law enforced.” (Citizens for Amending Proposition L v. City of Pomona (2018) 28 Cal.App.

         5th 1159, 1174.)




                 “Judicial recognition of citizen standing is an exception to, rather than repudiation of, the usual requirement of a beneficial

         interest.” (Reynolds v. City of Calistoga (2014) 223 Cal.App.4th 865, 873-874.) “[E]ven if a plaintiff otherwise meets the requirements

         of the public right/public duty exception in a mandamus proceeding, he is not entitled to proceed ‘as a matter of right.’” (Id. at 874.)

         “When the public need is less pointed, the courts hold the petitioner to a sharper showing of personal need.” (Reynolds, supra at

         875.)




                 The court must assess whether Petitioner has sufficiently alleged that Respondent’s duty to revoke RPI’s license is “sharp” and

         that there is a “weighty” public need for issuance of the writ.




                 Here, Petitioner alleges that “[t]he Department issued BlockFi’s finance lender license upon the erroneous legal conclusion

         that a finance lender may retain use and possession of personal property collateral.” (Id. ¶ 133.) Petitioner alleges that “BlockFi

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         secures its loans to Consumers by exercising dominion and control over the Consumers’ Bitcoin as collateral securing BlockFi’s loan

         (Collateral).” (Id. ¶ 21; see generally Id. ¶¶ 19-73.) In these circumstances, Petitioner contends that Respondent’s issuance of a license

         to BlockFi violated section 22009. (See Oppo. 1.)




                Section 22100(a) states that “[n]o person shall engage in the business of a finance lender or broker without obtaining a license

         from the commissioner.” Section 22009 defines “finance lender” as “any person who is engaged in the business of making consumer

         loans or making commercial loans.” Section 22009 further states that “[t]he business of making consumer loans or commercial loans

         may include lending money and taking, in the name of the lender, or in any other name, in whole or in part, as security for a loan, any

         contract or obligation involving the forfeiture of rights in or to personal property, the use and possession of which property is

         retained by other than the mortgagee or lender, or any lien on, assignment of, or power of attorney relative to wages, salary,

         earnings, income, or commission.” (emphasis added.)




                Petitioner raises a question of statutory construction. “The rules governing statutory construction are well settled. We begin

         with the fundamental premise that the objective of statutory interpretation is to ascertain and effectuate legislative intent. [Citations.]

         To determine legislative intent, we turn first to the words of the statute, giving them their usual and ordinary meaning. [Citations.]

         When the language of a statute is clear, we need go no further. However, when the language is susceptible of more than one

         reasonable interpretation, we look to a variety of extrinsic aids, including the ostensible objects to be achieved, the evils to be

         remedied, the legislative history, public policy, contemporaneous administrative construction, and the statutory scheme of which the

         statute is a part.” (Nolan v. City of Anaheim (2004) 33 Cal.4th 335, 340.)




                When interpreting a statute, the court must construe the statute, if possible to achieve harmony among its parts. (People v.

         Hall (1991) 1 Cal. 4th 266, 272; Legacy Group v. City of Wasco (2003) 106 Cal.App. 4th 1305, 1313). “When the legislature has carefully

         employed a term in one place and has excluded it in another, it should not be implied where excluded.” (Wasatch Property

         Management v. Degrate (2005) 35 Cal.4th 1111.) “When interpreting statutory language, we may neither insert language which has

         been omitted nor ignore language which has been inserted.” (See People v. National Auto. and Cas. Ins. Co. (2002) 98 Cal.App.4th

         277, 282.)




                Petitioner contends that, as defined by section 22009, “a finance lender does not retain use or possession of personal

         property securing its loans.” (Oppo. 7-8.) However, the statutory language upon which Petitioner relies is not mandatory in nature

         (i.e., “shall include”), but rather permissive (“may include”). Section 22009 does not clearly or explicitly prohibit a finance lender from

         using or possessing collateral. Petitioner has not developed an argument based on the statutory scheme as a whole that a finance

         lender cannot, in any circumstance, use or possess the personal property that secures its loan.




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                Petitioner does not submit or request judicial notice of any legislative history that supports his interpretation of section

         22009. Thus, even if there was some ambiguity in section 22009 (which Petitioner does not identify), Petitioner has not provided the

         court extrinsic aids that could suggest Respondent illegally issued a license to BlockFi.




                Respondent, which has authority for issuing finance lender licenses, may also be entitled to deference in his interpretation of

         section 22009. Petitioner attaches to the petition a declaration of the former Commissioner, who was at the helm of Department

         when BlockFi’s license was issued in 2018. (FAP ¶ 137, Exh. 20.) In her declaration, the former Commissioner concludes, among other

         things, that (1) Petitioner’s argument about section 22009 “is incorrect”; (2) the “business practice of holding and using collateral—

         including the rehypothecation of that collateral—is common both in California and throughout the United States in connection with

         secured lending”; (3) during her tenure, the Commissioner issued “many licenses to finance lenders whose planned business

         operations included the holding and/or use of collateral that was being used to secure loans”; (4) BlockFi’s business model does not

         somehow make it a “pawnbroker”; and (5) “holding and/or using collateral in the form of cryptocurrency for secured loans[ ] falls

         squarely under the umbrella of business activities performance by a finance lender licensed by [Department].” (FAP Exh. 20.)




                To the extent “purely legal issues involve the interpretation of a statute an administrative agency is responsible for enforcing,

         [the court] exercise[s] [its] independent judgment, ‘taking into account and respecting the agency's interpretation of its meaning.’”

         (Housing Partners I, Inc. v. Duncan (2012) 206 Cal.App.4th 1335, 1343; see also Yamaha Corp. of America v. State Bd. Of Equalization

         (1998) 19 Cal.4th 1, 11.) How much weight to accord an agency's construction is “situational,” and depends on the circumstances.

         (See American Coatings Assn. v. South Coast Air Quality Management Dist. (2012) 54 Cal.4th 446, 461-462.) If Petitioner contends that

         Respondent is not entitled to deference in his interpretation of section 22009, Petitioner has not sufficiently developed such

         argument in the petition or opposition. The petition implies that Department has taken inconsistent positions in its interpretation of

         section 22009, but Petitioner does not discuss any factors that would suggest Respondent or his predecessor commissioners are not

         entitled to deference in their interpretation of section 22009. (See FAP ¶¶ 74-140.) Thus, on this record and briefing, it appears

         Respondent may be owed substantial deference in his interpretation of section 22009.




                Petitioner’s reliance on W. Pico Furniture Co. v. Pac. Fin. Loans (1970) 2 Cal. 3d 594 is misplaced. (Oppo. 8.) That case did not

         address the question presented here of whether section 22009 requires, in all circumstances, that use and possession of collateral be

         retained by other than a finance lender. “‘It is axiomatic that language in a judicial opinion is to be understood in accordance with the

         facts and issues before the court. An opinion is not authority for propositions not considered.’” (People v. Knoller (2007) 41 Cal.4th

         139, 154-55.) For that same reason, Petitioner’s discussion of a 1948 Attorney General opinion is not persuasive. (Oppo. 8.)




                Petitioner contends that “[u]nder California law, lenders that usurp possession of collateral must be licensed as pawnbrokers….

         BlockFi is not a licensed pawnbroker …, and Respondent does not have any authority to issue pawnbroker licenses.” (Oppo. 9.) In his



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         arguments about the pawnbroker laws, Petitioner begs the question – he assumes the truth of his underlying premise that

         Respondent lacked authority to issue a finance lender license to BlockFi. Since Petitioner does not adequately support that

         underlying premise, the court need not analyze Petitioner’s contention that BlockFi should be considered an unlicensed pawnbroker.




                The court stresses that, for purposes of this demurrer, the court does not make a final determination regarding Petitioner’s

         statutory arguments related to section 22009. Based on this record and briefing, the court preliminarily finds Petitioner’s statutory

         interpretation unpersuasive. However, the court has not been presented with all relevant legal argument, legislative history, and

         extrinsic aids. For purposes of this demurrer, the court concludes only that Petitioner has not shown a “sharp” duty owed by

         Respondent to suspend or revoke BlockFi’s license, nor a “weighty” public need for the requested writ. As discussed, Petitioner has

         alleged no personal interest in the writ relief that he seeks. Balancing the interests, the court presently finds no grounds to apply the

         public-interest exception to Petitioner’s writ claim.




                Petitioner has not alleged sufficient facts to satisfy the public-interest exception to the standing requirement.




         Judicial Abstention




                Respondent and Real Parties contend that the doctrine of judicial abstention requires dismissal because Respondent has

         “exclusive regulatory authority” over the subject matter of the petition. (Resp. Dem. 13-15; RP Dem. 7-9.)




                “Under the abstention doctrine, ‘a trial court may abstain from adjudicating a suit that seeks equitable remedies if ‘granting

         the requested relief would require a trial court to assume the functions of an administrative agency, or to interfere with the functions

         of an administrative agency.’ [Citation.] Abstention may also be appropriate if ‘the lawsuit involves determining complex economic

         policy, which is best handled by the Legislature or an administrative agency,’ or if ‘granting injunctive relief would be unnecessarily

         burdensome for the trial court to monitor and enforce given the availability of more effective means of redress.’’” (Hambrick v.

         Healthcare Partners Medical Group, Inc. (2015) 238 Cal.App.4th 124, 147-148.)




                Significantly here, however, “abstention is not appropriate where resolution of the issues involves solely the judicial function of

         resolving questions of law based on facts before the court.” (Hambrick, supra at 152.) “To ‘abstain’ in situations where the

         Legislature said [the court] should act would be impermissible shirking.” (De La Torre v. CashCall, Inc. (2018) 5 Cal.5th 966, 989-990.)




                In the petition, Petitioner raises a pure question of law concerning Respondent’s authority under the California Financing Law,

         specifically section 22009, to issue a finance lender license to a lender that uses or possesses personal property collateral, and


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         specifically Bitcoin, given by the borrower. Based on the current allegations, the court finds no reason to apply judicial abstention to

         this narrow question of statutory interpretation.




         Does Petitioner Have an Adequate Legal Remedy?




                Respondent and Real Parties contend that Petitioner has an adequate remedy at law in two pending actions for breach of

         contract and injunctive relief. (Resp. Dem. 15-16; RP Dem. 11-12.)




                “The extraordinary remedy of mandate is not available when other remedies at law are adequate.” (See Agosto v. Board of

         Trustees of Grossmont-Cuyamaca Community College Dist. (2010) 189 Cal.App.4th 330, 336.)




                Petitioner has filed two other cases against BlockFi in the Los Angeles Superior Court. (See FAP ¶¶ 143, 145.)




                In Gerro I (Case No. 20BBCV00308), Petitioner sued BlockFi and his loan servicer “to recover possession of his personal

         property,” specifically Bitcoin that BlockFi liquidated after Petitioner failed to maintain loan-to-value ratios specified in his contract

         with BlockFi. (See FAP ¶ 143; RP RJN Exh. B.) The complaint alleged multiple claims against BlockFi, including breach of contract,

         conversion, and violation of several Commercial Code sections. In opposition to a demurrer, Petitioner asserted that his contract with

         BlockFi was illegal based on his statutory interpretation of the definition of finance lender in section 22009. (RP RJN Exh. C at 7.) The

         trial court enforced a Delaware forum selection clause and stayed the action. (RP RJN Exh. A.) Petitioner appealed, and his appeal is

         presently pending. (FAP ¶ 144.)




                In Gerro II (Case No. 20STCV31493), Petitioner sued BlockFi for injunctive relief based on claims of unfair competition, false

         advertising, and civil conspiracy. Petitioner alleged, as he does in this writ action, that BlockFi is illegally engaging in the business of

         an unlicensed pawnbroker and activity that falls outside the scope of a finance lender license pursuant to section 22009. (RP RJN Exh.

         E.) The trial court stayed Gerro II based on the pending action in Gerro I, concluding that Gerro II constituted the same cause of

         action as Gerro I. (FAP ¶¶ 145-146.) Contrary to Real Parties’ assertion, the judicially noticed record does not prove that the trial

         court ruled on the merits of Petitioner’s claims in Gerro II. (See RP Dem. 3-4, citing RJN Exh. E.) Petitioner appealed the stay in Gerro

         II, and that appeal is pending. (FAP ¶ 146.)




                In paragraph 3 of the Prayer, Petitioner seeks a writ “commanding Respondent to suspend said License until BlockFi unwinds

         all of its prior forfeitures of California Collateral and restores possession to Consumers.” (FAP p. 17.) In this requested writ, Petitioner




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         effectively seeks return of Bitcoin liquidated or foreclosed by BlockFi. Petitioner has an adequate remedy at law in Gerro I and Gerro

         II to obtain return of his Bitcoin or a corresponding amount of money damages.




                Petitioner also seeks a writ commanding Respondent to revoke, cancel, or annul BlockFi’s Finance Lender and Broker License

         No. 60DBO 81955 (License). Petitioner could not obtain that exact relief in Gerro I or Gerro II. Nonetheless, Gerro II alleges that

         BlockFi is “engaging in the unlawful business practice of accepting and obtaining forfeiture interests in collateral which it uses and

         possesses, in violation of California Financial Code Section 21009 [sic]” and “knowingly and negligently violating the pawnbroker

         laws.” (RP RJN Exh. D, ¶¶ 244-245.) Petitioner seeks to enjoin this alleged unlawful conduct pursuant to Business and Professions

         Code section 17200. If Petitioner proved his claims in Gerro II and the court enjoined conduct of BlockFi that he contends violates

         section 22009, that would provide him an adequate remedy for the harm alleged in the instant petition.




                Petitioner has not made a persuasive argument to the contrary. (See Oppo. 6.) Petitioner’s reliance on Covert v. State Bd. of

         Equalization (1946) 29 Cal.2d 125 is misplaced. (Ibid.) In Covert, a statute specifically authorized the petitioner, a citizen, to file a

         complaint with the board against a liquor licensee. In those circumstances, the Court held that abatement proceedings were not an

         adequate remedy. The Court did not hold that actions for contract damages or injunctive relief can never provide an adequate,

         alternative remedy for a petition for writ of mandate. “An opinion is not authority for propositions not considered.’” (People v.

         Knoller (2007) 41 Cal.4th 139, 154-55.)




                Even if it could be concluded that Petitioner had standing or public-interest standing, this writ action is barred because

         Petitioner has other, adequate remedies at law.




         Leave to Amend




                A demurrer may be sustained without leave to amend when there is no reasonable possibility that the defect can be cured by

         amendment. (Blank v. Kirwan (1985) 39 Cal.3d 311, 318.) Courts generally allow at least one time to amend a complaint after

         sustaining a demurrer. (McDonald v. Superior Court (1986) 180 Cal.App.3d 297, 303.) In assessing whether leave to amend should be

         granted, the burden is on the complainant to show the court that a pleading can be amended successfully. (Goodman v. Kennedy

         (1976) 18 Cal.3d 335, 348-349.)




                This is the court’s first ruling on the demurrer. However, Petitioner has not requested leave to amend or made an offer of

         proof of amendments that could address the pleading defects analyzed above. Counsel should address at the hearing whether leave

         to amend should be permitted.



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          Conclusion




                   The demurrers are SUSTAINED. Counsel should address at the hearing whether leave to amend should be permitted.




          [1] Unless otherwise stated, all statutory references as to the Financial Code.


          [2] Section 22109 sets forth the Respondent’s duty to deny an application for a finance lender license in specified circumstances,

          none of which appear directly relevant here. Section 22714 states in relevant part: “(a) The commissioner shall suspend or revoke any

          license, upon notice and reasonable opportunity to be heard, if the commissioner finds any of the following: … (3) A fact or condition

          exists that, if it had existed at the time of the original application for the license, reasonably would have warranted the commissioner

          in refusing to issue the license originally.”




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   1                                         PROOF OF SERVICE
   2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3           I am employed in the County of Orange, State of California. I am over the age of 18 and
        am not a party to the within action; my business address is 600 Anton Boulevard, Suite 700, Costa
   4    Mesa, California 92626.
   5            On November 16, 2021, I served a true and correct copy of the document entitled:
        NOTICE OF RULING ON DEMURRERS OF RESPONDENT CHRISTOPHER S. SHULTZ
   6    AND REAL PARTIES IN INTEREST TO PETITIONER’S FIRST AMENDED PETITION
        FOR WRIT on the interested parties in this action by placing true copies thereof, enclosed in
   7    sealed envelopes, as indicated below and addressed as follows:
   8
         John M. Gerro, Esq.                            Rob Bonta, Esq., Attorney General of California
   9     George J. Gerro, Esq.                          Leanna C. Costantini, Esq., Dep. Atty. General
         Law Offices of Gerro & Gerro                   California Department of Justice
   10    530 S. Glenoaks Boulevard, Suite 200           300 South Spring Street
         Burbank, CA 91502                              Suite 1702
   11    Telephone:    (818) 840-0000                   Los Angeles, CA 90013
         E-Mail:       john@gerrolaw.com                Telephone:    (213) 269-6231
   12                  george@gerrolaw.com              Facsimile:    (619) 738-9000
                                                        E-Mail:       rob.bonta@doj.ca.gov
   13    [Attorneys for Petitioner GEORGE                             leanna.costantini@doj.ca.gov
         GERRO]
   14                                                   [Attorneys for Respondent CHRISTOPHER S.
                                                        SHULTZ, as Commissioner of Financial
   15                                                   Protection and Innovation of the State of
                                                        California]
   16

   17                   (By Personal Delivery) I served true and correct copies of the foregoing
        document by personal delivery through First Legal Network to the offices of the interested
   18   parties as indicated above.
   19                   (By U.S. Mail) I am readily familiar with my employer’s business practice for
        collection and processing of correspondence for mailing with the United States Postal Service. I
   20   am aware that on motion of the party served, service is presumed invalid if postal cancellation date
        or postage meter is more than one day after date of deposit for mailing in affidavit. I caused such
   21   envelope, with postage thereon fully prepaid, to be placed in the United States Mail at Costa Mesa,
        California as indicated above.
   22
                        (By Electronic Delivery) Pursuant to C.C.P. § 1010.6, I served true and correct
   23   copies of the foregoing document by electronic delivery to the interested parties in this action as
        indicated above.
   24
               I declare under penalty of perjury under the laws of the State of California that the
   25   foregoing is true and correct. Executed on November 16, 2021, at Costa Mesa, California.
   26

   27
                                                      Kelley L. Saunders
   28
